EXHIBIT A
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L.M. by and through her guardian ad litem v. City of
Redding, et al.,

United States District Court (Eastern District of California)
No.: 2:14-CV-00767 MCE-AC

Interim Report of Expert Witness Jeffrey A. Martin
Pursuant to Rule 26(a)(2)(B)

IDENTIFICATION AND QUALIFICATIONS OF EXPERT WITNESS

My full name is Jeffrey Alan Martin. I am a retired police sergeant from the San Jose,
California Police Department. I currently divide my time between providing consulting and expert
witness services and teaching. I am a former labor relations attorney representing public safety
personnel in administrative matters. | also worked as an author of “Daily Training Bulletins” for
Lexipol, LLC, regarding various practices including the use of force, search and seizure, and other
police practices.

I was promoted to sergeant in 1995 and have worked in the Patrol Division, the
Administrative Unit of the Bureau of Field Operations as the Training Coordinator, the Airport
Division, and as a supervisor in the Training Division. As a patrol supervisor, I investigated and
documented several uses of force by officers, whether as a matter of routine or due to citizen
complaints.

Prior to my promotion to sergeant, I was a police officer and my assignments included
Patrol, the Parks Enforcement Unit, Field Training Officer Program, and as investigator in the
Narcotics/Covert Investigations (NCI) Unit.

While working as a supervisor in the Training Division (2005-2009), I supervised the
California Commission on Peace Officers Standards and Training (POST) Force-options Simulator
(FOS) program, which was implemented in 1999 in order to fulfill POST “perishable skills”
requirements. In this program, my staff and I delivered this training to the sworn members of the
San Jose Police Department, as well as other peace officers within Santa Clara County.
Additionally, our facility was designated as a “regional skills training center” and we also provided
instructor training to others throughout the State of California.

The FOS program concentrated on teaching the state and constitutional laws regarding the
use of force by peace officers, as well as decision making involved in using various types of force,
up to and including deadly force.

While assigned to the Training Division, I supervised and taught classes in defensive tactics
and officer safety and I served as the lead instructor and instructor-trainer for the TASER program
for the San Jose Police Department and Basic Academy. I hold a “Master Instructor” certification
from TASER® International and I conducted the one-year testing and evaluation of the TASER
Cam® for the department. I also served as a “scenario evaluator” in Learning Domain 20 — Use of
Force.

As a POST-certified FOS Instructor, I served as an adjunct instructor in the basic FOS
program provided by the South Bay Regional Public Safety Consortium from 2002 to 2004. In this

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capacity, I trained officers in Monterey and San Mateo Counties. I also served as an adjunct
defensive tactics instructor in the Basic Academy at the South Bay Consortium from 2000 to 2004.

From 1997 through 2004, I served as an adjunct instructor for the Field Training Seminar at
the South Bay Regional Consortium regarding legal and liability issues. This curriculum included
basic search-and-seizure law (Fourth Amendment), and search warrant requirements and
exceptions. I taught in the same program at the San Jose Police Department until 2006. | also
taught legal and liability issues in the POST Supervisors Course at South Bay Regional from
approximately 1997 until 2004. This curriculum included investigating and documenting police use
of force.

Prior to being hired at the San Jose Police Department, I was an officer with the San
Francisco Bay Area Rapid Transit (BART) District Police Department from October 1981 through
December 1984. While there, I worked in both uniformed and plainclothes patrol assignments.

During my law enforcement career, I have used various tactics, tools and techniques in order
to control subjects in field situations. This included the use of batons, chemical agents (both CS
and OC sprays), the TASER, extended-range impact munitions, and various weaponless measures.

I have also controlled numerous violent subjects in the field and have used total-appendage restraint
methods including the “hobble” and “The Wrap®.” | also hold multiple instructor-level
certifications in various defensive tactics/arrest-control methods and batons. I have also attended
multiple training programs regarding “excited delirium” and “sudden in-custody deaths.”

In April of 2012, I was recruited to develop and deliver a block of instruction on "Lawful
Force" for the new “Officer-Involved Shooting Investigations” course produced by the California
POST Institute for Criminal Investigation. I have presented this three-hour block of instruction
over 30 times. During this block of instruction, I co-teach the legal framework required for the use
of force by police to meet both state statutory and federal constitutional standards. This includes
the legal concepts of reasonable suspicion to detain, probable cause to arrest, legal authorization to
use force, and objective reasonableness.

I was also asked to develop and deliver a three-hour block of instruction on "Human
Factors" in the same course. This includes the basics of sensory and cognitive factors and how they
form the perspective of the reasonable officer. This includes basic vision, attention, perception,
reaction time, officer-subject interactions, pattern (gestalt) v. detailed (feature-intensive) processing,
time to stop shooting responses, human memory compared to video cameras, fatigue, and stress
reactions.

While working in Patrol, the Parks Enforcement Unit, and the NCI Unit, I had occasion to
observe and arrest persons who were displaying the objective symptoms of being under the
influence of controlled substances, including controlled stimulants such as methamphetamine. I
have also received specific training on detecting those who are displaying the objective symptoms
of being under the influence of controlled substances, and I have testified as an expert on evaluating
subjects in the field for the objective symptoms of being under the influence of controlled substance
and therefore in violation of California Health & Safety (H&S) Code section 11550. I have
observed and arrested well over 100 people for violating 11550 H&S, including heroin, cocaine,
methamphetamine, and phencyclidine (PCP). I have assisted in the arrests of many more. -

I hold a Juris Doctor Degree from Northwestern California University and I am a member of
the State Bar of California. I also hold a Bachelor’s Degree in Psychology from California State
University at Hayward (now “East Bay”).

My expertise and qualifications to provide expert testimony on the use of force by police,
the basics of attention, perception, memory, and the reaction time of law enforcement officers, and

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the interactions of officers and suspects during use-of-force encounters stems from the following:

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My education, personal experiences, and training;

2. The scope of my expertise is limited to these areas as they relate to investigating and
analyzing police force-response events, how police officers are trained in the legal aspects in
using force and in the methods used to control and restrain resistive subjects, including the
use of deadly force to defend themselves. This also includes how involved officers are
trained to recognize deadly threats to their safety, and the strength and endurance of
resistive subjects who are under the influence of controlled stimulants;

3. My analysis is similar to that of other force analysts and has a factual foundation based on
widely accepted methods of analyzing the objective reasonableness of police force
responses, how reasonable officers are trained, including the use of deadly force;

4. My understanding of the facts of this case;

5. My recognition that there will be factors or evidence that may either support, not support, or
have a neutral effect upon my opinion; and

6. The fact I have drawn conclusions based on certain assumptions, and I attempted to

designate when I relied on disputed evidence.

My curriculum vitae is attached and incorporated into the body of this report by this
reference. My professional experiences and activities are more fully set forth in my vitae, along
with my publications for the preceding ten years. It also contains a list of other cases I have
reviewed or in which I have testified as an expert, in deposition or in trial.

A considerable portion of my professional life involves the study and analysis of the
conduct of peace officers and law enforcement agencies and their practices, including liability
issues and human-performance factors. I have also rendered opinions as to police practices, as is
more fully set forth in my vitae.

My current fee schedule is also attached and incorporated by reference as a statement of the
compensation to be paid for the study and testimony in this case.

DATA AND OTHER INFORMATION CONSIDERED WHEN FORMING
OPINIONS

In forming my opinions in this case, I reviewed, studied, and considered materials that are
specific to this case as well as materials of general circulation. I have also drawn on the totality of
the materials I have read, studied, and examined, as well as the experiences and instruction I have
had and/or provided to law enforcement personnel over the entire course of my career. The
materials listed herein are the type, quality, and quantity upon which I and others in my profession
rely in examining the events surrounding a police practice and in forming opinions and conclusions
regarding the matters addressed herein.

All statements and opinions herein are to a reasonable, or higher, degree of professional
certainty and/or probability.

I reserve the option to modify, amend, and change any opinion expressed in this document
should additional information be provided affecting my understanding of the fact pattern in this
case. I also reserve the right to illustrate the points made in this report with demonstrations and/or
audio-visual aids.

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The specific case materials I have reviewed to date are:

First Amended Complaint, US District Court — Eastern District of California, dated 5/2/14.

Answer to First Amended Complaint — dated 7/14/14.

Redding Police Department Report (RPD) #13-70983 by Inv. Forsberg.

RPD Supplemental Report by Inv. Eric Forsberg.

RPD Supplemental Report by Cpl. Michael Woods.

RPD Supplemental Report by Off. Peggy Porter.

RPD Supplemental Report by Off. Brian Berg.

RPD Supplemental Report by Off. Russell Veilleaux.

RPD Supplemental Report by Off. Chris Smyrnos.

10. RPD Supplemental Report by Inv. Levi Solada (Witnesses A. and J. Russell).

11. RPD Supplemental Report by Inv. Levi Solada (Witness Sullivan Interview).

12. RPD Supplemental Report by Inv. Levi Solada (Witnesses N. Capener & Dionicio).

13. RPD Supplemental Report by Inv. Harry Bishop.

14. RPD Supplemental Report by Inv. Daniel Smetak.

15. RPD Supplemental Report by Off. Douglas Moore.

16. RPD Supplemental Report by Off. Michael Darling (Autopsy).

17. RPD Supplemental Report by Off. Michael Darling (Scene Processing & Attachments).

18. RPD Supplemental Report by Off. Michael Darling (Meeting with CHP MAIT).

19. RPD Supplemental Report by Off. Peggy Porter (CAD excerpts & time intervals).

20. Closed Incident Report (CAD printout) for RPD Case #130070983.

21. List of ID and radio ID numbers for involved units.

22. RPD Supplemental Report by Off. Peggy Porter (Scene photos & analysis).

23. City of Redding Internal Communication re Investigative Summary IA 13-32 by Sgt. Bill
Schueller.

24. Transcript of Interview with RPD Off. Becky Zufall.

25. Transcript of Interview with RPD Off. Brandon Largent.

26. Transcript of Interview with Cpl. Chris Jacoby.

27. Transcript of Interview with Off. Jared Herbert.

28. Transcript of Interview with Off. Wesley Townsley.

29. California Highway Patrol (CHP) Multidisciplinary Accident Investigation Team (MAIT)
Supplemental Report by N. Parsons & J. Cantrell.

30. Office of the District Attorney — County of Shasta “DA Makes Findings in Death of Steven
Motley.

31. Letter by Stephany E. Fiore, M.D. to Josh Lowery, Shasta County D.A.’s Office, dated
5/30/14.

32. TASER Firing Download for X26 Serial # X00-616412.

33. TASER Firing Download for X26 Serial # X00-445483.

34. TASER Firing Download for X26 Serial # X00-617246.

35. TASER Firing Download for X26 Serial # X00-577749.

36. Shasta County Sheriff's Office Report #13-34523 by Det. C. Tippings.

37. Supplemental Report by Det. C. Tippings re canvas on 10/5/16.

38. Supplemental Report by Det. C. Tippings re revisit of Spence property on 10/7/13.

39. Supplemental Report by Det. C. Tippings re radio traffic preservation on 10/18/13.

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40. Supplemental Report #2 by Det. W. Gardner re Spence & Garroutte interviews on 10/6/13.

41. Supplemental Report #2A by Det. W. Gardner re Spence interview on 10/6/13.

42. Supplemental Report #2B by Det. W. Gardner re Garroutte interview on 10/6/13.

43. Supplemental Report #3 by Det. W. Gardner re Hermann interview on 10/8/13.

44, Supplemental Report by Sgt. J. Beaupre re Haselrud interview on 10/5/13.

45. Supplemental Report #1 by ID Tech K. Killian re 10/5/13 involved-officer processing.

46. Supplemental Report #1 by Sgt. Magrini re supervision.

47. Supplemental Report by Sgt. Lozada re evidence collection at hospital on 10/5/13.

48. Supplemental Report by Sgt. Lozada re autopsy on 10/10/13.

49. Supplemental Report by Sr. Inv. Tech. S. Cheney re scene photography on 10/5/13.

50. Supplemental Report by Inv. Tech. Perea re evidence recovered from GMC truck on
10/14/13.

51. Shasta County Sheriff's Office Closed Incident Report (CAD printout) #130034523.

52. Shasta County District Attorney’s Office Investigation Division — Critical Incident
Supplemental Report: SCSC #13-34523 re canvas on 10/5/13.

53. Forensic Medical Group Autopsy Report by Arnold Josselson.

54. AMR Patient Care Report - AMR Shasta Unit 834 — Case # 9017082.

35. Redding Fire Department Incident Report #2013-9175 by Capt. S. Cramer.

56. Redding Fire Department Closed Incident Report (CAD printout) #130009705.

57. CHP 555 Collision Report #2013-10-0007.

EXPERT OPINION: BASIS AND REASONS THEREOF

General Opinion:

Redding Police Officers Jared Herbert, Wesley Townsley, Brandon Largent, Becky Zufall,
and Corporal Chris Jacoby were employed as police officers for the City of Redding at the time of
this incident and California peace officers working in uniform. They acted upon the totality of the
facts known to them at the time and acted reasonably in responding with force to overcome Mr.
Motley's active resistance to arrest. They also acted in a manner that indicated they reasonably
believed they were acting in accordance with the law.

The officers and Corporal Jacoby followed the training and procedures that are typical of
California law enforcement agencies that perform field-enforcement and public safety duties. At
the time of the incident, the officers and Corporal Jacoby were certified as peace officers by
California POST. They were also performing discretionary functions within the course and scope
of their duties and they acted in compliance with the use-of-force policies of the Redding Police
Department.

In addition, I have the following specific opinions:

Opinion One:
Mr. Motley’s flight from Officer Herbert constituted a dangerous threat to the public.

On October 5, 2013 at approximately 2:32 p.m., Officer Jared Herbert was working in
uniform and driving south on Airport Road at Rancho Road in a marked patrol car. At that time, he
saw a male subject, subsequently identified as Steven Motley, stopped in a GMC pickup in the lane

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to his left on southbound Airport Road. Officer Herbert recognized the truck as a reported stolen
vehicle. (CAD Printout, p. 1; Herbert Interview Transcript pp. 2 and 4)

When the light turned green for Mr. Motley’s direction, Officer Herbert drove behind Mr.
Motley and tried to effect a traffic stop. However, Mr. Motely executed a “three-point turn” in the
middle of Airport Road and fled west on Rancho Road at a high rate of speed. By the time Officer
Herbert turned to pursue Mr. Motley, Mr. Motley was already approximately 250 to 300 yards
ahead of him and traveling about 100 miles per hour. Mr. Motley’s driving was severe enough to
cause oncoming traffic to take evasive action as he used both the east and westbound lanes (Herbert
Interview Transcript p. 1; CHP 555 #2013-10-0007 p. 9)

Officer Herbert slowed down and watched Mr. Motley apparently attempt to turn north onto
Alta Camino Drive. However, Mr. Motley drove onto the yard of the residence at 4976 Alta
Camino Drive after driving over the curb. He next collided with a raised brink planter box and
drove through and destroyed a decorative cinderblock wall. (MAIT Supplement, p. 3; Porter
Supplement (analysis) photograph 9) The GMC truck also came to rest within approximately 10
feet from where 14-year old Tristan Hermann was sitting. (Shasta Co. DA Inv. Report Supplement
by D.A. Inv. Hendrix)

Opinion Two:
Officer Herbert’s attempts to use his TASER to apprehend Mr. Motley were
consistent with the actions of a trained and reasonable peace officer.

Officer Herbert arrived to see Mr. Motley run north through the yard of a neighboring
house. Officer Herbert also noticed that Mr. Motley was wearing a backpack and approaching what
appeared to be a seven-foot tall fence. As Officer Herbert pursued Mr. Motely on foot and noticed —
that Mr. Motley appeared to be injured. Officer Herbert drew his TASER and announced at least
five warnings that he would use the TASER on Mr. Motley if he did not stop. (SCSO Gardner
Supplement #3 — Witness Hermann statement) Officer Herbert then pulled the trigger on his
TASER but it did not discharge. He looked at the TASER, saw that he had turned it on, and then
turned it off and back on. By this time, Mr. Motley had jumped over the fence into a back yard.
(Herbert Interview Transcript pp. 2-4, 8; SCSO Gardner Supplement #3 — Witness Hermann
statement)

Officer Herbert pursued Mr. Motley into the next two backyards but lost sight of him. He
then noticed Mr. Motley as he was hopping over a wall at the south end of a house. When Officer
Herbert ran toward Mr. Motley, Mr. Motley jumped over a fence leading to the street where Officer
Herbert’s patrol car was parked. As Mr. Motley was about to get into Officer Herbert’s patrol car,
Officer Herbert saw what appeared to be a “big ‘ol knife or something on him.” Officer Herbert
also noticed that Mr. Motley appeared to be “really zoned out.” Officer Herbert had also drawn his
handgun and warned Mr. Motley that he would shoot him if he did not stop. However, Mr. Motley
did not stop and Officer Herbert fired his TASER at him from about 20 feet away, with one dart
apparently striking him and the other flying over the top of the patrol car. (Herbert Interview
Transcript, p. 3, 7; Solada Supplement — Wit. A. Russell Interview, pp. 1-2; D.A. Inv. Hendrix
Supplement — Witness Greg Herman statement p. 5; Townsley Interview Transcript 3:88-119)

California peace officers are trained in the lawful use of force in their official capacities.
They are specifically trained that they are authorized to “use reasonable force to effect the arrest,
prevent escape, or to overcome resistance” when they have “reasonable cause to believe that the

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person to be arrested has committed a public offense.”'

California peace officers are further trained that the “objective reasonableness” of their force
responses must be “fact specific” and is:

Judged from the perspective of a reasonable officer.

Examined through the eyes of an officer on the scene at the time the force was applied, not
the 20/20 vision of hindsight.

Based on the facts and circumstances confronting the officer without regard to the officer’s
underlying intent or motivation.

Based on the knowledge that the officer acted properly under the established law at the

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time.”

Furthermore, California peace officers are also trained that their decisions should be based
on a consideration of the severity of the crime at issue, the nature and extent of the threat posed by
the suspect, the degree to which the subject resists, any attempts by the subject to evade arrest by
flight California peace officers are also trained that a “reasonable officer” is “an officer with
similar training, experience, and background in a similar set of circumstances, who will react in a
similar manner.

The facts supporting Officer Herbert’s attempted use of his TASER to prevent Mr. Motley
from driving away in his patrol car include the following:

Mr. Motley’s initial flight from Officer Herbert in the GMC truck was at high speed
(approximately 100 miles per hour), caused other motorists to take evasive action,
and resulted in the apparent loss of control of the truck and coming to rest in the
front yard of the aforementioned residence;

Officer Herbert’s observation that Mr. Motley appeared to be “zoned out” and to be
sweating and have a “lot of energy,” which Officer Herbert associated with being
under the influence of methamphetamine (Herbert Interview Transcript, p. 7; SCSO
Gardner Supplement #3 — Witness Marissa Hermann statement; D.A. Inv. Hendrix
Supplement p. 5);

Officer Herbert saw what appeared to be a knife on Mr. Motley’s person;
The patrol car contained a loaded shotgun; and

It was reasonable to expect Mr. Motley to continue to drive in a manner that
threatened the public and the potential danger to citizens if Mr. Motley used the
marked patrol car to endanger others, e.g., use the emergency equipment to stop a
citizen’s vehicle, and to forcibly take the vehicle or otherwise victimize others.

Mr. Motley’s initial flight from Officer Herbert would not only cause a trained and

_reasonable officer to perceive it to be a very severe crime, but the nature of the continued flight in

the marked patrol car containing a shotgun while potentially under the influence would cause a
trained and reasonable officer to reasonably perceive as an extreme threat to the public.

Not only was the use of the TASER reasonable under these circumstances, the continuing

 

' California Commission on Peace Officer Standards and Training, Basic Course Workbook Series — Learning Domain
20: Use of Force, Version 3.0, p. 1-3.

? Ibid.

3 Ibid. p. 1-5

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and potentially deadly threat that Mr. Motley’s continuing flight presented to the public would
cause a trained and reasonable peace officer to believe that even deadly force would be appropriate
under the circumstances to end that threat.

Opinion Three:

Officer Townsley’s use of his TASER to attempt te apprehend Mr. Motley was
consistent with the actions of a trained and reasonable peace officer.

As Officer Townsley arrived to assist on Alta Camino Drive, he saw Mr. Motley running
toward Officer Herbert’s unoccupied patrol car. Officer Townsley was aware that there were one or
more firearms in the patrol car and that Motley’s improper use of that car presented a potential
threat to the public. (Townsley Interview Transcript, 3:88-119)

Townsley also saw Officer Herbert chasing Mr. Motley, trailing about 20 feet behind with
his TASER in hand. As Mr. Motley was getting into Officer Herbert’s patrol car, Officer Townsley
stopped his patrol car. Officer Townsley got out of his patrol car with his handgun drawn and
approached the passenger side of Officer Herbert’s patrol car and yelled for Mr. Motley to stop and
to put his hands up. However, Mr. Motley appeared to be staring straight ahead with a “blank look
on his face.” Mr. Motley pressed the accelerator as he tried to put the car into gear, as the car
wasn’t moving. Officer Townsley had made the decision to fire at Mr. Motley to stop the threat,
but decided not to do so as Officer Herbert was on the opposite side of Mr. Motley, potentially in
the line of fire. At that point, Mr. Motley put the car into gear, backed up (almost striking Officer
Herbert), and drove away quickly. Officer Herbert’s TASER was still attached to Mr. Motley or the
car, and the TASER was dragged away as Mr. Motley fled in the car. (Townsley Interview
Transcript 3:88-119; Herbert Interview Transcript p. 3)

Officer Townsley lost sight of Mr. Motley fleeing in Officer Herbert’s patrol car. Officer
Townsley used directions from citizens to ultimately find the patrol car, abandoned in front of 4617
Alta Saga Drive with the lights still on and the engine running. However, Officer Townsley did not
know what street he was on at the time. (Townsley Interview Transcript 4:121-160; SCSO Cheney
Supplement p. 1)

After locking Officer Herbert’s patrol car, Officer Townsley was directed toward a house by
citizens, indicating Mr. Motley’s direction of travel. After ultimately being directed to Mr. Motley
in the backward of 4653 Alta Saga by Mr. Dane Spence, who was in the backyard with his mother
and father (Sandra and Michael Spence) who live there, as well as his fiancé, Katie Garroutte.
(Townsley Interview Transcript, 5:161-200; Bishop Supplement, p. 1-2; SCSO Gardner
Supplemental Reports #2A and 2B)

Officer Townsley moved to the portion of the yard he was in and looked over the fence. He
could see Mr. Motley, who had his back turned toward Officer Townsley. Officer Townsley next
told Mr. Motley to put his hands up. However, Mr. Motley started to run away, but not after
Officer Townsley noticed a “weird blank stare on his face.” Officer Townsley also noticed that the
backpack Mr. Motley was wearing “looked heavy.” In response to Mr. Motley’s renewed flight,
Officer Townsley fired his TASER at his right side, seeing that the darts landed close together,
maybe about four inches apart. The TASER had the effect of causing Mr. Motley to fall to the

 

* The materials reviewed to date do not confirm which part of Mr. Motley’s body that the TASER probes struck.
However, one probe was recovered from Mr. Motley’s right upper arm by emergency room staff. (Lozada Supplement,

p. 1)

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ground while making an “uggh” sound, and roll onto his back. (Townsley Interview Transcript
5:161-200; Gardner Supplemental Reports #2A and 2B)

Officer Townsley kept the trigger on his TASER depressed in order to keep Mr. Motley
incapacitated since he was alone and to take the opportunity to visually search Mr. Motley for
weapons. However, Mr. Motley grabbed both TASER probes, while under power, and pulled them
out. This, along with Officer Townsley’s observation that Mr. Motley was of substantial size, made
him fear that physically controlling Mr. Motley would be difficult. Officer Townsley was also
concerned that Mr. Motley might be under the influence of drugs. (Townsley Interview Transcript
5:161-200; TASER Firing Data Download for X26 Serial Number X00-616412°)

It should be noted that the duration would end after Officer Townsley perceived that Mr.
Motley had pulled the probes out, decided to release the trigger, and actually released the trigger,
and end the discharge. This is because if the trigger is continuously depressed after the initial five-
second automatic cycle, it will end as soon as the trigger is released. Also, if the distance between
the two darts that landed on Mr. Motley was approximately four inches, this would indicate that the
distance from the front end of Officer Townsley’s X26 was approximately two feet from Mr.
Motley at the time of discharge.®

Keeping in mind how California peace officers are trained as mentioned in Opinion Two, a
reasonable peace officer would believe that the use of the TASER in an attempt to overcome Mr.
Motley’s resistance include the following:

e Mr. Motley had been driving the stolen truck as initially reported by Officer Herbert;
@ Mr. Motley had stolen Officer Herbert’s marked patrol car;

e Mr. Motley appeared to be under the influence of drugs, which would make Mr.
Motley more difficult to control by other weaponless methods

° Officer Townsley perceived Mr. Motley to be of substantial size (i.e., “He’s not a
little guy, either.)

* Officer Townsley was alone, had not broadcast his exact location, and was unsure of
how long it would take other officers to assist him; and

¢ Mr. Motley, instead of putting his hands up and submitting to arrest as directed by
Officer Townsley, started to flee through the residential area.

Another consideration includes the fact that fleeing suspects sometimes forcibly enter
homes or forcibly take vehicles from citizens. This constituted a threat that needed to be stopped at
this opportunity. Furthermore, the crimes of auto theft, stealing a marked patrol car, and fleeing
through residential neighborhoods are serious crimes.

Another consideration is that how Officer Townsley used his TASER on Mr. Motely. There
is no indication that the TASER probes struck the front of Mr. Motley’s chest, which, along with
the “rapid loss of consciousness,” are the common factors identified by medical professionals who
believe that TASERs can causes death from cardiac arrest.’ While it is somewhat ambiguous as to

 

° While it was not apparent from the reports which TASER belonged to which officer, it appears that this is the firing
data for Officer Townsley’s X26 due to the duration of the single firing (nine seconds) and the time of discharge.
‘ , LASER, International, Instructor Notes, Version 19, Apr. 2013, p. 182.

” Zipes, Douglas P. "TASER electronic control devices can cause cardiac arrest in humans." Circulation 129.1 (2014):
101-111.

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exactly where on Mr. Motley’s body the TASER probes stuck, it is clear that Mr. Motley did not
lose consciousness until significantly later in the struggle to restrain him.

Opinion Four:

Officer Townsley’s use of punches and other physical control methods to overcome
Mr. Motley’s active resistance were consistent with the actions of a trained and
reasonable peace officer.

California peace officers are trained that they may use “personal weapons,” i.e., parts of
their own bodies to strike resistive subjects, in order to effect arrests, prevent escape, or overcome
resistance.® They are also trained that personal weapons may be used to strike suspects during
arrests to control combative or resistive subjects, “especially during ground control encounters.

After Mr. Motley defeated the TASER, Officer Townsley decided to physically take Mr.
Motley to the ground in an attempt to control him. When Officer Townsley physically engaged Mr.

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‘Motley, Mr. Motley turned onto this stomach and tried to get up. Officer Townsley “drove his knee

into his back” in order to keep him flat on the ground. When Mr. Motley tried to turn toward (spin)
Officer Townsley tried to prevent Mr. Motley from doing so by placing his forearm and some of his
body weight against the back of Mr. Motley’s neck. Officer Townsley also reached undemeath Mr.
Motley’s left arm with his own left arm (under hook) to prevent Mr. Motley from reaching toward
his waist. During this time, Mr. Motley used his unrestrained right arm to try to get up. (Townsley
Interview Transcript 6:201-240)

This struggle continued but Officer Townsley was able to continue to apply enough body
weight to the back of Mr. Motley’s neck in order “keep [Mr. Motley’s] face in the dirt.” Officer
Townsley became concerned that Mr. Motley might have a weapon in his waist area, as Mr. Motley
continued to try to bring his arms down toward his waist. (Townsley Interview Transcript 6:201-
240)

Officer Townsley also tried to apply wristlocks to the left arm. However, Mr. Motley was
wet with perspiration and Officer Townsley’s holds slipped off. Also during this time, Officer
Townsley told Mr. Motley to “Stop fighting me. Put your other arm behind your back,” and “Stop

~ resisting.” (Townsley Interview Transcript 6:201-240; Gardner Supplement #2A — Wit. D. Spence

statement)

At this point, Officer Townsley decided to render Mr. Motley unconscious by punching Mr.
Motely in the jaw. His decision to do so was based on the following:

¢ The standard “pain-compliance” holds were unsuccessful;

¢ The struggle was continuing, as Officer Townsley could not get Mr. Motley’s hands
behind his back for handcuffing;

* He still did not know where he was or if other officers were on their way to assist
him;

e Mr. Motley eventually turned and faced Officer Townsley — a dangerous position;
and

e Mr. Motley was also grabbing at Officer Townsley’s uniform and trying to pull

 

® California Commission on Peace Officer Standards and Training, Basic Course Workbook Series ~ Learning Domain
33: Arrest and Control, Version 4.1, p. 1-3.
9 "Ibid. PP. 1-13 3 through 1-14.

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Officer Townsley down to him

Officer Townsley placed his legs on Mr. Motley’s thighs and squeezed them together to
restrict Mr. Motley’s movements. From this “mounted position,” Officer Townsley started striking
Mr. Motley with both hands (closed fists) on each side of Mr. Motley’s jaw.'® During this time,
Officer Townsley noticed that Mr. Motley was wearing a large knife in a belt sheath, which caused
Officer Townsley to conclude that Mr. Motley had been trying to reach for it earlier. While the
punches did not have the intended effect of knocking out Mr. Motley, it did stun him, giving Officer
Townsley the opportunity to roll Mr. Motley back onto his stomach and apply a carotid restraint.
(Townsley Interview Transcript 7:241-280)

Opinion Five:
Officer Townsley’s use of the carotid restraint to over come Mr. Motley’s active
resistance was consistent with the actions of a trained and reasonable peace officer.

California peace officers are trained that the carotid restraint is a viable force option.'! Since
Officer Townsley still did not know if other officers were on their way to him or when they would
arrive, and the fact that Officer Townsley’s other efforts to overcome Mr. Motley’s resistance were
unsuccessful, he elected to apply a carotid restraint. One of the considerations in electing to do so
was the fact that, when he was attempting to knock out Mr. Motley earlier, he noticed Mr. Motley
had a sheathed knife on his belt. (Townsley Interview Transcript 7:241-280)

Officer Townsley was conscientious enough and physically able to ensure the restraint was
safely applied, i.e., he made sure the front of Mr. Motley’s throat was inside the bend of his elbow.
This serves to protect the trachea, larynx, and other boney and cartilaginous structures in the neck
from being injured, which can result in tissue damage that can lead to other complications.’

The fact that the Autopsy Report (page 5) indicated there were no injuries to Mr. Motley’s
“laryngeal cartilages, hyoid bone, or cervical vertebral column,” supports that Officer Townsley
was able to, under these circumstances, apply the carotid restraint while taking care not to seriously
injure Mr. Motley.

Once he perceived Mr. Motley to be unconscious, Officer Townsley removed the knife from
Mr. Motley’s sheath and tossed it away. Next, Officer Townsley started to take Mr. Motley’s
backpack off since it was interfering with his efforts to handcuff Mr. Motley. While he was doing
so, Mr. Motley regained consciousness. Mr. Motley asked Officer Townsley, “I was unconscious?”
Officer Townsley replied that he was, that Officer Townsley “choked [him] out,” and that he would
do it again if Mr. Motley did not cooperate. Unfortunately, Mr. Motley resumed struggling and
fighting to get away from Officer Townsley. (Townsley Interview Transcript 7:241-280)

During this period, Officer Townsley could hear radio traffic asking where he was.
However, Dane Spence heard that the officer did not know where he was, so Mr. Spence yelled the
address to him. This allowed Officer Townsley to broadcast his location so other officers could

 

° It is common knowledge among police combatives instructors that striking the jaw in such a way as to cause the rapid
rotation of the head can be a successful method of “knocking out” opponents.

" Supra at Note 8, p. 4-3.
2 Kornblum, Ronald N. “Medical Analysis of Police Choke Holds and General Neck Trauma: Part I.” Trauma, Feb.
1986: 5.

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find him. (Gardner Supplement # 2A — Wit. D. Spence statement) Officer Townsley was also
concerned that there might be weapons in the backpack. Therefore, Officer Townsley continued to
yell for Mr. Motely to stop resisting and to put his hands behind his back, but Mr. Motley continued
his active resistance by trying to get onto his hands and knees. Officer Townsley responded by
striking Mr. Motley across the shoulders with his forearm “as hard as he could.” Officer Townsley
also tried to control Mr. Motley’s left arm by reaching under the arm and pulling it toward him
(under hook). During this period, Officer Townsley noticed that Mr. Motley’s knife was only three
feet away. (Townsley Interview Transcript 7:280-308)

At about this time, the other officers arrived and started to assist in taking Mr. Motley into
custody.

Opinion Six:
Officer Largent’s use of his baton to overcome Mr. Motley’s active resistance was
consistent with the actions of a trained and reasonable peace officer.

California peace officers are trained that they may use impact weapons (batons) in order to
effect an arrest, prevent escape, and to overcome resistance. They may also use batons in order to
defend themselves or others. “Possible target areas” on the human body to strike with batons
includes the arms and legs. Intentional strikes to the head are permitted when objectively
reasonable.'?

Officer Largent arrived at 4563 Alta Saga Drive and was directed to Officer Townsley’s
location by Dane Spence. (Largent Interview Transcript 3:93-102; Gardner Supplement #2A — Wit.
D. Spence statement) Corporal Jacoby arrived at about the same time. Once he was able to find
Officer Townsley in the large backyard, he saw Officer Townsley struggling with Mr. Motley on
the ground and in the dirt. He heard Officer Townsley scream, “I can’t get control of him,” or
something to that effect. Officer Largent saw that Officer Townsley was in a seated position, on top
of Mr. Motley who was on his abdomen. He could also see Mr. Motley trying to reach and grab
onto Officer Townsley and was trying to roll onto his side. (Largent Interview Transcript 3:111-
121)

Officer Largent drew and extended his baton as he ran to Officer Townsley and Mr. Motley.
As he did so, Mr. Motley looked at him, at which time Officer Largent said, “Stop fighting. This is
over.” Officer Largent also noticed the knife sheath on Mr. Motley’s side. Mr. Motley reached
toward one of Officer Largent’s feet or legs. Officer Largent responded by striking Mr. Motley’s
right arm twice. (Largent Interview Transcript 4:121-143)

Mr. Motley responded to the baton strikes by looking directly at Officer Largent and saying,
“Yeah, mother fucker! Harder!” At this point Officer Largent realized that Mr. Motley was not
feeling or reacting to significant pain, despite the fact he had struck Mr. Motley “as hard as [he]
could.” (Largent Interview Transcript 4:133-143)

This caused Officer Largent to suspect that Mr. Motley was under the influence of
controlled stimulants. (Largent Interview Transcript 4:143-146) Mr. Motley again reached back
toward Officer Townsley, then turned back and reached toward Officer Largent. Officer Largent
responded by striking Mr. Motley’s right forearm/wrist area another three to five times. After the
last strike, Officer Largent could see that the right forearm appeared to broken. However, Mr.

 

3 Supra at Note 8, p. 7-3, 7-6,

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Motley was still not reacting to pain. Due to the futility of continuing to strike Mr. Motley’s right
arm, he, Officer Largent threw his baton away without trying to collapse it. Officer Largent had
also decided against using his TASER, but elected not to due to the close proximity of everyone,
including Corporal Jacoby. (Largent Interview Transcript 4:152-172)

Officer Largent then grabbed Mr. Motley’s right arm, dropped to his knees next to Officer
Townsley, and attempted to obtain enough control to handcuff Mr. Motley. Another officer,
although he does not know whom, was trying to get control of Mr. Motley’s left arm. At some
point, the officers are able to work together to get Mr. Motley handcuffed. Officer Largent also had
difficulty in controlling Mr. Motley’s right arm due to the apparent injury he inflicted on it. Mr.
Motley, however, was also continuing to resist and pull the arm away — which Officer Largent
noted should have caused more pain and injury, yet Mr. Motley seemed not to feel or react to that
pain either. (Largent Interview Transcript 5:165-186)

Even after getting Mr. Motley handcuffed and onto his side to search him, Mr. Motley
continued to reach around toward his side as if he was reaching for the knife, Officer Largent had
to repeatedly tell Mr. Motley, “You’re in handcuffs. This is over. Just knock it off!” Mr. Motley
even tried to bite Officer Largent on his knees. Officer Largent responded by using the palm of his
hand to press the side of Mr. Motley’s head to the ground. (Largent Interview Transcript 5:186-199)

Mr. Motley continued to violently kick, causing Officer Zufall to apply her body weight to
his legs. However, Mr. Motley was kicking his legs with enough force to raise Officer Zufall off of
the ground. Mr. Motley replied to Officer Largent’s repeated commands to stop resisting by saying,
“Fuck you!” Officer Smyrnos next rolled Mr. Motley to his stomach and pinned one of his legs
back in order to finish controlling Mr. Motley. When Corporal Jacoby was away getting leg
restraints, they had obtained full control of Mr. Motley. Officer Largent was able to ask Mr. Jacoby
his name and he replied. (Largent Interview Transcript 6:236-7:268)

Opinion Seven:

Officer Zufall’s use of her baton to overcome Mr. Motley’s active resistance was
consistent with the actions of a trained and reasonable peace officer.

When Officer Zufall arrived to assist, she saw Officer Largent and Officer Townsley on the~
ground with Mr. Motley. She saw that Mr. Motley was still combative and kicking but not
handcuffed. She also saw the knife sheath hanging from his waistband, Mr. Motley’s shirt covering
the top part. Therefore, Officer Zufall was unable to tell if there was a knife in the sheath at the
time. Officer Zufall attempted to assist in overcoming Mr. Motley’s continuing active resistance by
striking him on his legs “several” times with her collapsible baton. As she did so, she also yelled,
“Stop resisting.” (Zufall Interview Transcript p. 2-4; Gardner Supplement #2B — Wit. K. Garroutte;
Gardner Supplement #2A — Wit. D. Spence)

Officer Peggy Porter arrived and was able to assist with getting Mr. Motley handcuffed.
Officer Zufall then applied her body weight to Mr. Motley’s legs while the other officers finished
handcuffing Mr. Motely. She also noticed that Mr. Motley was continuing to resist and be
combative even after being handcuffed. (Zufall Interview Transcript p. 2-3)

Officer Zufall’s actions were consistent with a trained and reasonable peace officer due to
the following:

e She saw the Mr. Motley was continuing to actively resist by kicking and was no
handcuffed;

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e Mr. Motley was continuing his resistance despite the combined efforts of Officers
Largent and Townsley;

° She saw the knife sheath on Mr. Motley, reasonably causing concern that he might
be armed with a knife; and .

¢ Mr. Motley’s legs were the only targets available given the close proximity of
Officer’s Townsley and Largent. .

Opinion Light:
Corporal Jacoby’s use of his baton to overcome Mr. Motley’s active resistance was
consistent with the actions of a trained and reasonable peace officer. —

When Corporal Jacoby arrived at 4653 Alta Saga Drive, he was greeted by Mr. Dane
Spence who, in a “panicked” manner, said, “You're partner needs help! You’re partner needs help
back there,” and “Get back there!” (Jacoby Interview Transcript 3:99-106).

Upon reaching Officer Townsley with another officer (Largent), he saw Officer Townsley
on top of Mr. Motley in a “controlling position” (i.e., he’s straddling him with his body weight
lowered), while attempting to control his left arm. He could see that Officer Townsley was
perspiring and that he was having a difficult time controlling Mr. Motley — even given his size and
skill level. Corporal Jacoby also recognized Mr. Motley as someone with an extensive criminal
history, including drugs, that he had contact with in the past. (Jacoby Interview Transcript 3:107-
4:121)

Corporal Jacoby perceived that Mr. Motley was under the influence of drugs and ina
“psychotic state.” (Jacoby Interview Transcript 4:121-123)

Corporal Jacoby also approached and said to Mr. Motley, something to the effect of, “Dude.
There’s two of us here now. You’re under arrest. Knock it off.” However, Mr. Motley continued
fighting. (Jacoby Interview Transcript 4:121-126)

Corporal Jacoby noticed that Mr. Motley’s hand was free and that there was a large knife
sheath extending off of his belt. This caused him to fear that Mr. Motley was still armed with the
knife and that he was going to try to draw it and use it against Officer Townsley. Corporal Jacoby
responded to this perceived threat by yelling to Officer Townsley that he was “going to baton.”
Corporal Jacoby struck Mr. Motley with his wooden baton as Mr. Motley was “coming up to
punch” Officer Townsley. Corporal Jacoby’s one or two baton strikes appeared to land on one of
Mr. Motley’s forearms. This had two results: (1) Corporal Jacoby’s baton broke; and (2) Mr.
Motley had no reaction. (Jacoby Interview Transcript 4:126-132; Cheney Supplement p. 6)

Corporal Jacoby discarded his broken baton and communicated this to Officer Largent.
Corporal Jacoby then saw Officer Largent draw his baton. During this time, Corporal Jacoby
noticed that Mr. Motley was still fighting the officers, and that Officer Townsley looked up at him
and said, “I’m gassed. I gotta get out! I need out!” At this point, Corporal Jacoby saw Officer
Zufall start to use her baton. Corporal Jacoby then went to the left side of Mr. Motley and tried to
take control of his left arm, using all of his body force and strength to get Mr. Motley’s arm behind
his back and handcuffed. Despite this, Mr. Motley was still fighting and trying to head butt and bite
Corporal Jacoby. (Jacoby Interview Transcript 4:150-159)

Corporal Jacoby left the immediate scene to retrieve a leg restraint from a patrol car. Upon
returning, he saw that Officer Smyrnos had arrived and was assisting by placing Mr. Motley’s legs
into a control position. (Jacoby Interview Transcript 4:159-171; Smyrnos Supplement)

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Opinion Nine:

Any injuries to Mr. Motley’s head that were actually caused by baton strikes were

most likely inadvertent or “secondary.”

There are three types of head strikes with batons and other impact weapons:

1. Intentional: Used when the totality of the circumstances dictate;

2. Inadvertent: When the officer intends to strike one part of the body, and when, due to
the fact that the officer, the impact weapon, and the suspect are in motion, the strike
lands on the suspect’s head; and

3. Secondary: When the baton strikes one part of the body and then bounces off or is
otherwise deflected and strikes the head.

While Mr. Motley sustained wounds to his head that could have been caused by the officers’
collective or individual baton strikes, there is nothing to indicate that such strikes were intentional.
It is important to remember that while Officers Largent and Jacoby were using their batons to strike
Mr. Motley’s arms, Mr. Motley was moving and Officer Townsley was still trying to control him
and also effecting his movement. This most likely combined to make it more difficult for the
officers using their batons to accurately strike their intended targets. Officer Townsley also took
evasive action to avoid being struck. (Townsley Interview Transcript 7:280-308) Therefore, while
the cause of Mr. Motley’s non-fatal head injuries (Autopsy Report) could have been caused by
baton strikes, they were most like inadvertent or secondary.

I have personally missed my intended targets while using the baton in the field, and I have
also been accidentally struck by at least one other officer during an arrest situation.

Opinion Ten:
The officers rendered first aid and summoned emergency medical personnel in a
timely manner.

Officer Largent continued to talk to Mr. Motley as they waited for Corporal Jacoby to return
with the leg restraints. Mr. Motley was still cursing and being verbally uncooperative. Suddenly,
Officer Largent noticed that Mr. Motley’s color changed. Specifically, Mr. Motley turned very
grey and blue. Officer Largent continued to monitor Mr. Motley’s airway and noticed that he had a
lot of dirt and debris in his mouth (Mr. Motley had been grabbing at the ground with his mouth
earlier during the struggle). Officer Largent could tell that Mr. Motley was still breathing as bark
and dirt were expelled from his mouth as he exhaled. (Largent Interview Transcript 7:252-28 1)

When Corporal Jacoby returned with the leg restraint, Officer Largent told him that he was
no longer worried about having to restrain Mr. Motley’s legs. Officer Smyrnos had released his
hold on Mr. Motley’s legs and, in addition to the change in color, Mr. Motley’s legs were laying on
the ground and Mr. Motley was no longer actively resisting other than movement in his arms.
Officer Largent said to the other officers, “This might be excited delirium,” as he had encountered
that before. (Largent Interview Transcript 8:281-289)

Corporal Jacoby immediately called for an emergency medical response. (Jacoby Interview
Transcript 5:164-171; RPD CAD)

Officer Largent decided to move Mr. Motley to the driveway so the responding medical

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personnel could have faster access to him. He rolled Mr. Motley onto his back, supported the back
of his neck and sat him up, keeping his knees behind Mr. Motley’s back. He lifted Mr. Motley with
Officer Zufall picking up one side of Mr. Motley’s legs and Corporal Jacoby the other side — using
the leg restraints as a carry assist. They carried him approximately 50 yards to the driveway.
(Largent Interview Transcript 8:301-319)

Officer Largent placed Mr. Motley into a recovery position (on his right side). Officer
Largent was monitoring Mr. Motley’s carotid pulse and respirations while trying to wake him by
talking to him. Officer Largent noticed that Mr. Motley was expelling dirt out of his mouth as he
exhaled. Officer Largent then noticed that Mr. Motley’s pulse had stopped and that he went
“lifeless.” Officer Largent announced that he no longer felt a pulse and that he was starting CPR.
He rolled Mr. Motley onto his back and performed one cycle of 15 chest compressions. He
checked for and found a strong pulse and noticed that Mr. Motley’s eyes fluttered and that he
exhaled. (Largent Interview Transcript 8:319-9:332)

Officer Largent rolled Mr. Motley back to his side and continued talking to Mr. Motley,
calling him by his first name. Mr. Motley continued to breath on his own with a strong pulse until
about one and a half minutes went by. Officer Largent, in response to not feeling a pulse,
performed another cycle of 15 chest compressions, and then checked his pulse and breathing. He
found that Mr. Motley had started breathing again, had a pulse, and that his eyes opened and closed.
Officer Largent continued to monitor Mr. Motley, this time using both his carotid and brachial
arteries. Medical personnel arrived shortly thereafter and took over the care of Mr. Moiley.
(Largent Interview Transcript 9:332-358)

The RPD Closed Incident (CAD) Report indicates that an entry for having medical
personnel stage to the front of 4653 Alta Saga Drive was made at 2:42 p.m. Later, at 2:50 p.m., the
CAD Report indicates that Corporal Jacoby provided an update that Mr. Jacoby was “unresponsive”
and that they needed an emergency medical response.

AMR Paramedic Unit #834 received the call to respond at 2:51 p.m. They arrived at Mr.
Motley’s side at 3:02 p.m. Redding Fire Department Engine 5 was dispatched at 2:56 p.m. and
arrived at 3:01 p.m. to find AMR Unit #834 already on the scene and caring for Mr. Motley. (AMR
Patient Care Report; Redding Fire Department Incident Report)

Once it was clear that Mr. Motley was in medical distress, Officer Largent clearly
communicated this to Corporal Jacoby, who requested the expedited EMS response. Officer
Largent then followed procedures and provided basic life support for Mr. Motley and maintained it
until relieved by AMR Unit #835 personnel. Only about one minute elapsed from the time
Corporal Jacoby made the Code-3 EMS request until AMR Unit #834 was dispatched. They
arrived in about 13 minutes, with Redding Fire Department Engine #5 arriving just afterward.

The RPD officers summoned emergency medical assistance for Mr. Motley as soon as they
perceived he was in medical distress and provided effective basic life support for him until relieved
by paramedic personnel. Therefore, they provided medical assistance to Mr. Motley in a timely
manner.

4, Conclusion

It is my opinion that the relative culpability for this incident lays with Mr. Motley for
ingesting methamphetamine (Toxicology Report), which gave him extraordinary strength,
endurance and tolerance for pain; for engaging in threatening flight from Officers Herbert and
Townsley (partially in a stolen police vehicle), and violently resisting the officers in an active and

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assaultive manner. Mr. Motley knew or should have known that these actions would create in the
mind of trained and reasonable peace officers the need to respond with intermediate levels of force.

Mr. Motley’s actions presented _a series of events that presented the officers, both
individually and collectively, with circumstances that were tense, uncertain and rapidly evolving.

Mr. Motley’s overall behavior would lead a trained and reasonable peace officer to believe
he was in a state of excited delirium as he displayed extraordinary strength, endurance, pain
tolerance, bizarre behavior (trying to eat the dirt), and continuing to violently struggle even after it
was clearly futile and for an extended period of time. Mr. Motley’s condition suddenly changed,
i.e., he was conscious one minute then suddenly went quiet with a change of pallor, followed by
sudden unconsciousness and cardiac arrest.

Respectfully Submitted,

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San Carlos, California

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LL.M. by and through her guardian ad litem v. City of
Redding, et al.,

United States District Court (Eastern District of California)
No.: 2:14-CV-00767 MCE-AC

Supplemental Report of Expert Witness Jeffrey A. Martin
Pursuant to Rule 26(a)(2)(B)

ADDITIONAL DATA AND OTHER INFORMATION CONSIDERED IN SUPPORT OF
OPINIONS

In forming my opinions in this case, I reviewed, studied, and considered materials that
are specific to this case as well as materials of general circulation. I have also drawn on the
totality of the materials I have read, studied, and examined, as well as the experiences and
instruction J have had and/or provided to law enforcement personnel over the entire course of my
career. The materials listed herein are the type, quality, and quantity upon which IJ and others in
my profession rely in examining the events surrounding a police practice and in forming
opinions and conclusions regarding the matters addressed herein.

All statements and opinions herein are to a reasonable, or higher, degree of professional
certainty and/or probability.

I reserve the option to modify, amend, and change any opinion expressed in this
document should additional information be provided affecting my understanding of the fact
pattern in this case. I also reserve the right to illustrate the points made in this report with
demonstrations and/or audio-visual aids.

The additional case materials ] have received after submitting my Interim Rule 26 report
reviewed to date are:

Transcript of Interview of Officer Wesley Townsley on 5/29/14.
Deposition of Officer Wesley Townsley, taken 6/23/16.
Transcript of Interview of Brandon Largent on 5/29/14.
Deposition of Officer Brandon Largent, taken 6/24/16.
Transcript of Interview of Officer Rebecca Zufall on 5/29/14.
Deposition of Officer Rebecca Zufall, taken 6/24/16.

Transcript of Interview of Corporal Chris Jacoby on 5/29/14.
Deposition of Corporal Chris Jacoby, taken 6/24/16.

Transcript of Interview of Officer Jared Herbert on 5/29/14.

10. Deposition of Officer Jared Herbert, taken 6/23/16.

11. Deposition of Carol (Adams) Motley, taken 6/23/16.

12. Deposition of Ashley McCain, taken 6/23/16.

13. 120 mp3 audio files containing radio traffic from SHASCOM, time indexes ranging from
14.53.41 through 15.58.30.

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SUPPLEMENTAL INFORMATION AND OPINIONS

Background Information:

Although not listed in the First Amended Complaint, there were questions in the
depositions by the Plaintiffs’ attorney that suggested the issues of “positional asphyxia” or
“weight-force compression” may be raised. As a result, it is important to discuss those theories,
what it theoretically takes for death to result according to those theories, and whether the facts in
this case indicate whether the involved officers actions were consistent with those of trained and
reasonable peace officers in their force responses.

The “positional asphyxia” theory provides that if someone is placed in a prone position
after being “hogtied” (placed into a total-appendage restraint), the person’s ability to breathe and
ventilate to such a degree that the person does not get enough oxygen into bloodstream, which,
after enough time passes, causes the person to stop breathing altogether, which, again, after
enough time passes, causes death.' This theory was first developed and put into the law
enforcement context by Dr. Donald T. Reay.”

Subsequent research, however, has fairly well diminished the theory that placing arrested
subjects in prone positions impairs breathing sufficiently to eventually result in death.
Specifically,

...Scientific research has contradicted this theory and showed that placing a
combative arrestee in the prone position and restraining the person with their
hands behind their back and/or hobbled did not reveal evidence that the prone
restraint position does not result in changes in ventilation sufficient to cause
death.

The authors of this study had analyzed 1,085 incidents where subjects were restrained by prone
restraint, including incidents where weight was applied to the backs of the arrestees, and none of
the arrestees died. This included uses of both handcuffs and the hobble over periods from one to
five minutes.

An earlier study of subjects actually restrained in prone positions by multiple law
enforcement agencies over a six-year period found that of the 2,015 arrestees who were placed in
prone positions, none died. However, one of the 2,358 arrestees who were not placed into prone

 

' Ross, Darrell L., and Ted Chan, eds. Sudden deaths in custody. Humana Press, 2007. ~- Chapter by Tom Neuman
on Positional and Restraint Asphyxia.

2 Reay, Donald T., John D. Howard, Corinne L. Fligner, and Richard J. Ward. "Effects of positional restraint on
oxygen saturation and heart rate following exercise." The American Journal of Forensic Medicine and Pathology 9,
no. 1 (1988): 16-18.

3 Reay, Donald T., et al. "Positional asphyxia during law enforcement transport." The American journal of forensic
medicine and pathology 13.2 (1992): 90-97.

* Ross, Darrell L., Michael H. Hazlett. “A Prospective Analysis of the Outcomes of Violent Prone Restraint
Incidents in Policing.” Forensic Research & Criminology International Journal. 2, no. 1 (2016) Accessed August 8,
2016 at: http://medcraveonline.com/FRCI/FRCIJ-02-00040.pdf

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positions died.°

The “weight-force compression” theory (also referred to as “restraint asphyxia”) suggests
that “asphyxia death [is] caused by active restraint by another person.” This occurs by
“compressing the thorax — preventing adequate breathing leading to respiratory muscle
exhaustion, or preventing circulation throughout the heart.”® However, it is important to note
that researchers have found that “the addition of weight force to the back/shoulders of a subject
in the prone position does not significantly impact pulmonary/cardiopulmonary function in
healthy volunteers.”

Even if one were to accept the theories of either positional or restraint asphyxia, officers’
actions can be evaluated by asking (1) whether they placed a subject into one of the theoretically
“dangerous” positions,” (2) how long they kept the subject in one of those positions, and (3) even
if the they did both, were the officers’ actions still consistent with their training regarding the _
objectively reasonable use of force in overcoming Mr. Motley’s resistance, such as the
availability of other means of restraint?

Supplemental Opinion One:

Officer Townsley’s actions in effecting the arrest of Mr. Townsley and overcoming
his resistance were consistent with those of a trained and reasonable officer as he
had tried to use commands, the TASER, grappling, strikes, and a vascular neck
restraint - ali of which were unsuccessful.

Officer Townsley initially tried to subdue Mr. Motley using his TASER. Officer
Townsley fired the TASER probes at Mr. Motley’s right side with one or both darts landing on
Mr. Motley’s upper arm and only four inches apart. (Townsley Interview 5:161-200; Lozada
Supplement, P. 1) After Mr. Motley fell to the ground, he rolled onto his back, looked at Officer
Townsley, and pulled the probes out of his arm with his left hand. This occurred while Officer
Townsley maintained the TASER discharge.

Officer Townsley decided to physically engage Mr. Motley by jumping on him while Mr.
Motley was still on the ground. Mr. Motley, at that point, ended up on his stomach in an
apparent attempt to get up onto his feet and run. Officer Townsley prevented this by driving his
knee into Mr. Motley’s back and pushing him flat onto the ground. During this portion of the
overall incident, the following took place:

e Mr. Motley tried to turn and face Officer Townsley;

° Mr. Motley used his free right arm to try to pull himself up off the ground or away
from Officer Townsley;

° Officer Townsley placed his right forearm on the back of Mr. Motley’s neck and

 

> Hall, Christine, Kristine Votova, Christopher Heyd, Matthew Walker, Scott MacDonald, Doug Eramian, and Gary
M. Vilke. "Restraint in police use of force events: examining sudden in custody death for prone and not-prone
positions." Journal of forensic and legal medicine 31 (2015): 29-35.

® O’Halloran, Ron. “Restraint Asphyxia Deaths.” Lecture, 9" Annual Excited Delirium, Arrest-Related and Sudden
In-Custody Death Conference, Institute for the Prevention of In-Custody Deaths, Las Vegas, Nov. 4, 2014.

7 Supra at Note 5, p. 34.

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applied body weight to it;

¢ Officer Townsley used his left hand to control Mr. Motley’s left arm by pulling it
toward him using an under hook;

e The backpack Mr. Motley was wearing caused Officer Townsley to maintain the
mounted position on Mr. Motley’s waist, while keeping his legs outside of Mr.
Motley’s legs while squeezed together;

° Mr. Motley continued to grab at Officer Townsley’s uniform and pull Officer
Townsley down toward him;

° Mr. Motley was subsequently able to turn into a supine position at which point
Officer Townsley punched Mr. Motley on both sides of his jaw several times;

° Officer Townsley noticed the large sheath knife Mr. Motley was wearing on his
front waistband;

* After stunning Mr. Motley with the punches, Officer Townsley rolled Mr. Motley
back into a prone position; and

° Mr. Motley continued to actively fight and resist Officer Townsley as Officer
Townsley applied a carotid restraint and rendered Mr. Motley unconscious.
(Townsley Interview 6:201-280)

During this period, Mr. Motley continuously and forcefully fought Officer Townsley.
The typical “mounted” position used by Officer Townsley most likely placed a majority of his
body weight on Mr. Motely’s waist and not on his thorax. Most importantly, Mr. Motley
remained conscious and actively resisted Officer Townsley until Officer Townsley stunned him
with the punches (while Mr. Motley was supine) and then rendered Mr. Motley unconscious with
the carotid restraint.

While Mr. Motley was unconscious, Officer Townsley took the opportunity to remove
the fix-bladed knife from the sheath on Mr. Motley’s belt and throw it away. Officer Townsley
was in the process of trying to remove the backpack Mr. Motley was wearing because it was also
making it more difficult to control him. Unfortunately, Mr. Motley regained consciousness,
asked Officer Townsley if he had been unconscious, and then resumed his active resistance by
trying to get onto his hands and knees. Officer Townsley responded by striking Mr. Motley
across the shoulders with his forearm “as hard as he could” and by controlling Mr. Motley’s left
arm with a left under hook hold. It was about this time the other officers arrived to assist Officer
Townsley.

By reviewing the audio files of the radio transmissions, it appears that all of this took
place between time index 14.39.39 (when Officer Townsley broadcast the “148”) and 14.41.08
(when Corporal Jacoby and Officer Largent arrived), or about one and a half minutes (1:29).
During this period, Mr. Motley had been in a prone position, then a supine position, and then
back to a prone position.

With all of Mr. Motley’s movement, combined with the fact he regained consciousness
within a short period of time after the application of the carotid restraint, it is unlikely that
Officer Townsley did anything that interfered with Mr. Motley’s ability to breathe. In addition,
Mr. Motley never showed any signs of fatigue or having any difficulty with breathing.

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Supplemental Opinion Two:

The individual and collective actions of Officer Townsley, Corporal Jacoby, Officer
Largent, Officer Zufall, and Officer Smyrnos in overcoming Mr. Motley’s
continuing violent resistance and restraining him were consistent with those of
trained and reasonable officers and did not place Mr. Motley into one of the
aforementioned theoretically dangerous positions.

Since the different officers applied different force responses in getting Mr. Motley into
custody at various times, it is important to try to reconstruct how the event unfolded. How the
officers participated, individually or collectively and whether their efforts placed Mr. Motley into
a “dangerous” position (i.e., that would theoretically place Mr. Motley in danger of positional or
restraint asphyxia) needs to be examined.

When Corporal Jacoby and Officer Largent arrived at about 14.41.08 (per time index
from audio segment). At that time, Corporal Jacoby reported that Officer Townsley was on top
of and straddling Mr. Motley, who was prone yet “thrashing about in an uncontrolled manner.”
Corporal Jacoby also saw that Mr. Motley’s legs were free and he was trying to get up or punch
Officer Townsley and that Officer Townsley had to spend his efforts just to stay on top of Mr.
Motley. This was because Mr. Motely was thrusting his hips up off the ground in a “bucking”
fashion. (Jacoby 5/29/14 Interview pp. 4-5)

Officer Largent also reported that he found Officer Townsley and Mr. Motley in the same
position, i.e., “...seated on top of the suspect’s buttocks.” Officer Largent also reported that Mr.
Motley was struggling with both of his arms rolling on his side as if he’s trying to face Officer
Townsley and was reaching toward him. (Largent 10/8/13 Interview p. 3) Officer Largent also
noted that Mr. Motley’s chest was “very high up off the ground; although his hips were planted
on the ground. Mr. Motley was also pushing up with his hands and arching his back. (Largent
Deposition 18:19-19:12)

At this time, Corporal Jacoby and Officer Largent (after hearing Officer Townsley say,
“I’m gassed,” and “I can’t control him) started delivering baton strikes to Mr. Motley’s right
arm. After Corporal Jacoby’s baton broke and after Officer Largent noticed that he had probably
injured Mr. Motley’s arm without it having any effect on his resistance, the two stopped using
their batons.

Officer Zufall arrived next and began using her baton on Mr. Motley’s legs.

Corporal Jacoby next went to the ground and grabbed Mr. Motley’s left arm and tried to
muscle and leverage it into a handcuffing position. During this time Mr. Motley tried to bite
Corporal Jacoby and strike him with his head.

At the same time, Officer Largent had dropped to his knees and grabbed Mr. Motley’s
right arm to put it behind his back.

Officer Zufall moved and got on top of Mr. Motley’s legs, at which time Officer Porter
took Officer Zufall’s handcuffs from her duty belt and was able to handcuff Mr. Motely. At that
point, Officer Berg radioed that the suspect was “in custody” at time index 14.42.23.

The facts support that from the arrival of Corporal Jacoby along with Officers Largent,
Zufall and Porter, Mr. Motley was fighting so hard that the officers were unable to keep him flat
on the ground and that they did not apply enough weight to Mr. Motley’s thorax so as to hinder
his ability to ventilate and become unconscious. Mr. Motley was still very conscious at this

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point. Only about 1 minute and 35 seconds passed from the time of Corporal Jacoby’s and
Officer Largent’s arrival until the officers were able to get Mr. Motley handcuffed (i.e., from
time index 14.41.08 until 14.42.23). Mr. Motley continued to resist for some period after this.

Supplemental Opinion Three:

The individual and collective actions of Officers Largent, Zufall and Smyrnos in
obtaining and maintaining control of Mr. Motley were consistent with those of
trained and reasonable officers and did not place Mr. Motley into one of the
aforementioned theoretically dangerous positions.

Immediately after the officers were able to get Mr. Motley handcuffed, Officer Largent
immediately started a systematic prone search. This entailed rolling Mr. Motley onto his sides
while maintaining holding onto or pressing down on the suspect with the hand not conducting
the search. During this time, Mr. Motley is also trying to bite Officer Largent, which caused
Officer Largent to tell Mr. Motley to stop doing that and to press the side of Mr. Motley’s head
to the ground. Mr. Motley’s resistance was so severe, Officer Largent called out to Corporal
Jacoby to get a hobble to use to restrain Mr. Motley’s legs. (Largent 10/8/13 Interview pp. 6-7)

By this time, Officer Largent had placed Mr. Motley back into a prone position and he
maintained contact with or held the back of Mr. Motley’s neck. Because Mr. Motley was
kicking so hard that he was lifting Officer Zufall off the ground, Officer Smyrnos relieved her
and took control of Mr. Motley’s legs.

Officer Smyrnos crossed Mr. Motley’s ankles and'then pushed them toward Mr. Motley’s
buttocks and held them in place with his body weight. At this point, only Officers Smyrnos and
Largent were in physical contact with Mr. Motley. Officer Largent was still to the right of Mr.
Motley with his knees on the ground and his hand on Mr. Motley’s right shoulder. During this
time, Mr. Motley was “chewing the dirt” and “biting mouthfuls [of dirt].” (Largent Deposition
69:3-9) Since having been handcuffed, Officer Zufall had also asked Mr. Motley his name and
she radioed it to the dispatcher (Time Index. 14.45.22). Mr. Motley remained conscious about 3
minutes and 53 seconds after having been handcuffed, as he could be heard in the background of
Officer Smyrnos’ radio transmission at Time Index 14.46.16.

Officer Smyrnos maintained his hold on Mr. Motley’s lower body and Officer Largent
continued to hold the back of Mr. Motley’s neck (Largent 8/5/13 Interview p. 7) for about the
next 3 minutes and 43 seconds until Officer Largent noticed that Mr. Motley’s color changed,
i.e., “Very grey, pale grey and blue color washed over his face, neck and head.” It was at about
this point in time when Corporal Jacoby returned to the scene and Officer Largent informed him
in the change of Mr. Motley’s condition. However, Officer Largent could also see that Mr.
Motley was still breathing, as he was expelling dirt and debris from his mouth. By this time,
Officer Smyrnos had released Mr. Motley’s legs as Mr. Motley had stopped resisting and “his
body seemed relaxed.” (Largent 10/8/13 Interview p. 8)

The total time that Mr. Motley remained conscious after being handcuffed was about 7
minutes and 36 seconds. During that time, Mr. Motley was placed on his side(s), and then back
into a prone position due to the level of his continuing resistance. Officer Zufall was also able to
get Mr. Motley’s name and radio it to the dispatcher, and Mr. Motley could be heard in the
background of Officer Smyrnos’ radio transmission, which was 3 minutes and 53 seconds after
being handcuffed.

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It is very unlikely that the prone position with Officer Smyrnos pressing Mr. Motley’s
crossed ankles towards his buttocks and Officer Largent holding the back of Mr. Motley’s neck
created a condition that would have interfered with Mr. Motley’s ability to ventilate. There was
no pressure or weight being placed onto Mr. Motley’s thorax. In addition, the loss of
consciousness from compression of the thorax and impaired ventilation can take several minutes.
Officer Largent nor any of the other officers present reported Mr. Motley to have had difficulty
in breathing, complaining of the inability to breathe, or to give any other indications he was in
medical distress prior to the sudden change in color and subsequent loss of consciousness.

The officers’ individual and collective efforts were consistent with those of trained and
reasonable officers; their force responses in obtaining and maintaining control of Mr. Motley
were applied so as not to increase or create any further danger to Mr. Motley. In addition, there
were no other feasible alternatives in obtaining and maintaining control of Mr. Motley.

Supplemental Opinion Four:

Mr. Motley’s behavior was consistent with that of a person who was fueled by a
drug-induced state that made caused him to continue to fight and resist the officers

beyond the point he was handcuffed and it would be clear to a reasonable and
prudent person that such resistance would not permit him to escape.

Mr. Motley displayed several characteristics, some of which were detailed by some of the
involved officers that were consistent with someone who was under the influence of drugs, was
suffering from a mental illness, or both. California peace officers are trained that such
individuals may display the following characteristics that can make it extremely difficult to take
them into custody:

¢ Irrational behaviors (e.g., driving at 100 mph and crashing into a residential yard);
¢ Fleeing from peace officers;

e Extraordinary strength (e.g., being able make it difficult for multiple officers to
take them into custody; being able to push themselves or parts of their bodies
upward while having multiple officers trying to subdue them);

° Not feeling or reacting to pain (e.g., withstanding multiple baton strikes to a lower
arm, suffering a severe bone fracture, yet continuing to fight and not show pain
when an officer grabs said broken forearm);

* Extraordinary endurance (e.g., continuing to fully exert oneself without
responding to the normal cues of exhaustion; Continuing said fight against a
single and multiple officers — after running away from officers and being
subjected to a TASER; Continuing to try to bite officers and violently resist even
after being handcuffed for over eleven minutes);

* Bizarre behavior (e.g., biting into the dirt during officers’ attempts to maintain
control); and

° Continuing to violently fight and struggle against officers and restraints until they
suddenly stop, usually due to the loss of consciousness.

It is well known in law enforcement that such persons can be at extreme risk of dying

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regardless of the measures use to apprehend and restrain them. It is also well known that being
under the influence of methamphetamine, a dangerous central nervous system stimulant is a
common cause of such violent behavior.

Supplemental Opinion Five:

The officers summoned emergency medical personnel in a very timely manner and
well before they perceived Mr. Motley to be in serious medical distress.

By reviewing the audio of the radio transmissions and dispatches, the following becomes
clear:

* Officer Berg radioed that Mr. Motley was in custody (handcuffed) at Time Index
14.42.23;

° Officer Berg radioed for a Code 3 medical response at Time Index 14.42.57;

e AMR Unit 815 was dispatched at Time Index 14.46.16 (4:40 after Officer Berg’s
request — It is unknown if the AMR and RPD dispatch systems are time
synchronized)

* Corporal Jacoby radioed for an updated Code 3 medical response for the
unresponsive subject at Time Index 14.49.59 (when Officer Largent informed
Corporal Jacoby of Mr. Motley’s change in condition);

¢ AMR Unit 815 was upgraded to a Code 3 response at Time Index 14.50.31; and

* AMR Unit 834 arrived (since they responded as a closer unit) at Time Index
15.01.13.

It is clear that the officers summoned emergency medical help for Mr. Motley about
seven minutes prior to it becoming clear that Mr. Motley needed emergency medical assistance.
Also, the available time indexes indicate that the officers used the time waiting for the
emergency medical personnel to arrive by carrying Mr. Motley toward the front of the house to
expedite access the access to him. Also during this time, Officer Largent constantly monitored
Mr. Motley’s condition and provided CPR

Opinion Six:
Officers Largent, Zufall, Smyrnos and Corporal Jacoby had not yet immobilized
Mr. Motley with the leg restraint (hobble) prior to Mr. Motley losing consciousness.

California peace officers are trained that, once they get a violently resisting arrestee
securely and completely under control, it is at that time that first aid and other safety measures
should be taken, e.g., place the subject onto his side. Before that state is achieved, they are
trained they may use objectively reasonable force to overcome resistance.

Although the officers were able to get Mr. Motley handcuffed, his resistance continued
and was so violent that he was lifting Officer Zufall off of the ground as she applied her body
weight to his legs. Officer Smyrnos took her place, crossed Mr. Motley’s ankles and used his
body weight to push Mr. Motley’s ankles towards his buttocks, which kept Mr. Motley’s hips
pressed to the ground. During this time, Officer Largent held onto the back of Mr. Motley’s
neck and did not place any of his body weight onto Mr. Motley’s thorax. This position appears to
have been maintained from about 2:45 p.m. until about 2:49 p.m. (Radio Audio Time Index

14.45.22 to14.49.59) Over four minutes had passed while Mr. Motley was not in one of the

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theoretically dangerous positions (i.e., he was neither “hogtied” nor had any of the arresting
officers’ weight placed onto his thorax — thus not placing him into any of the aforementioned
theoretically dangerous positions. This made positional asphyxia or weight-force-
compression/restraint asphyxia highly unlikely.

Officer Largent demonstrated an awareness of his training by asking for a leg restraint
(hobble). Had the hobble arrived prior to Mr. Motley changing color and becoming unconscious,
the officers could have used it to immobilize Mr. Motley’s legs, which then — and only then —
would it have been safe for them to place Mr. Motley on his side.

Although Officer Zufall recalled during her deposition that she saw Officer Porter on Mr.
Motley’s upper back during handcuffing, there is nothing to suggest that she remained there once
Mr. Motley was handcuffed. When asked during depositions, Officers Zufall and Largent
officers reported having had training that cautioned against leaving suspects in prone positions
and/or while applying weight to the suspects’ backs for an extended period of time, once the
suspect was fully secured. (Zufall Deposition 48:22-50:7; Largent Deposition 106:16-108:4)

The officers were working to obtain a leg restraint (hobble), which would have enabled
them to safely place Mr. Motley on his side instead of maintaining the prone position. However,
Mr. Motley’s actions in leading the officers on a chase that placed him deep inside the large
rural-like backyard and far away from a street delayed the officers’ ability to bring a hobble more
quickly. As it was, they worked diligently to obtain one — which they did — and ended up using it
to assist in carrying Mr. Motley closer to the street so that medical personnel would be able to
get to his side more quickly.

Conclusion:

Although the officers were able to get Mr. Motley handcuffed, his resistance continued
and was so violent that he was lifting Officer Zufall off of the ground as she applied her body
weight to his legs. Officer Smyrnos next crossed Mr. Motley’s ankles and used his body weight
to push Mr. Motley’s ankles towards his buttocks. During this phase of the event, Officer
Largent asked for a hobble device so they could place Mr. Motley into a total appendage restraint
or a prone maximal restraint in order to overcome Mr. Motley’s continued resistance.

The officers’ actions in apprehending and controlling Mr. Motley were consistent with
those of trained and reasonable peace officers in regard to the apprehension, restraint, and proper
care of violently resistive suspects — particularly those who do not feel pain or tire, are unusually
strong, and engage in bizarre and irrational behaviors. The officers’ actions did not place Mr.
Motley in a theoretically dangerous position and they did not increase the danger to him through
their efforts to safely and completely restrain him. Additionally, they did not have any other
options available.

California peace officers are trained that, once they get a violently resisting
arrestee securely and completely under control, it is at that time that first aid and other safety
measures should be taken, e.g., place the subject onto his side. Before that state is achieved, they
are trained, and common sense dictates, that they fully restrain violently resisting suspects prior
providing first aid and summoning emergency medical assistance.

Attachment: Arrest and Treatment Timeline

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Respectfully Submitted,

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Date: September 2, 2016

San Carlos, California

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CURRICULIM VITAE 1/2017
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EDUCATION

Juris Doctor — 2007
Northwestern California University School of Law, Sacramento, California
*« State Bar of California, License No. 262839

Bachelor of Arts, Psychology - 1981
California State University - East Bay, Hayward, CA

Associate in Risk Management - 2000
Insurance Institute of America, Malvern, PA

 

EMPLOYMENT
DSI Consulting, LLC 2014 - Present
Chief Consultant
Provides training and consulting on internal affairs investigations, police practices, and expert witness
services.
SELF-EMPLOYED, San Carlos, CA 2009 -Present

 

Consultant/Trainer/Attorney
Provides expert-witness services and adjunct instruction for California P.O.S.T. Institute of Criminal
Investigations Officer-involved Shootings Investigations Course.

BERRY WILKINSON LAW GROUP 2009 - 2014

Associate Attorney
Provided legal representation for public safety personnel in disciplinary and other administrative matters.

FORCE SCIENCE INSTITUTE, LTD. 2012 - 2013

 

Staff Consultant
Assisted with operations pertaining to training, research and administrative functions.

LEXIPOL, LLC. 2009-2013

Contract "Daily Training Bulleting" Author
Authored approximately four to six daily training bulletins per month on various law enforcement topics
including use of force, pursuits, ethics, officer safety, and other topics related to policy compliance.
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SAN JOSE POLICE DEPARTMENT, San Jose, CA 1984 - 2010

Sergeant, Bureau of Field Operations 2009 - 2016, 2000 - 2603, 1995 - 1997
Patrol Division

Supervised one or more patrol areas and supervised criminal investigations, tactical operations, conducted
use-of-force investigations, and community-oriented policing activities. Engaged in other supervisory
duties such as writing performance appraisals, coaching, and responding to citizen complaints. Member of
the Crisis Intervention Team since April 2001.

Sergeant, Bureau of Administration 2005 - 2009
Training Division

Supervised the P.O.S.T. Force-Options Simulator (FOS) and Law Enforcement Driving Simulator
Programs, which delivered training to the San Jose Police Department and peace officers within Santa
Clara County. Delivered and supervised FOS instructor training to other trainers throughout the state of
California. Taught and supervised classes in defensive tactics and officer safety. Served as the lead
instructor and instructor-trainer for the TASER program for the San Jose Police Department and Basic
Academy. Revised pursuit policy and designed, delivered and supervised mandated training for all sworn
personnel to meet legislative requirements. Delivered instruction on use-of-force investigations in the
Night Detective Academy.

Sergeant, Bureau of Field Operations 2003 - 2005
Patrol Division, Main Lobby and Pre-Processing Center

Supervised operations in the main lobby of the Witness Center during serious, criminal investigations and
the department’s temporary holding facility, as regulated by Title 24 of the California Code of
Regulations. Also, completed bi-weekly assignments for regular patrol supervision.

Sergeant, Bureau of Field Operations 1998 - 2000
Administrative Unit

Served as the patrol bureau training coordinator for 800 sworn personnel and supervised sworn and
non-sworn employees in the Administrative Unit.

Sergeant, Bureau of Field Operations 1997 ~ 1998
Airport Division

Supervised the policing and security functions by sworn personnel at San Jose International Airport.
Ensured compliance with FAA and other regulations.

Police Officer, Bureau of Field Operations

Patrol Division 1984 - 1986, 1988 - 1989, 1994 - 1995
Engaged in proactive enforcement activities, investigated felony and misdemeanor crimes, and
participated in community-oriented policing activities.

Field Training Officer, Bureau of Field Operations 1992 - 1994
Patrol Division

Directly trained and evaluated new officers in basic patrol officer functions, including criminal
investigations, patrol tactics and report writing.

Police Officer, Bureau of Investigations 1989 - 1992
Narcotics/Covert Investigations Unit

Investigated drug and narcotic-related crimes, conducted and/or participated in undercover activities
including sting operation support, conducting parole and probation searches, working with informants,
obtaining and serving search warrants, and conducting surveillance. Also, served as the firearms
instructor for the unit.
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Police Officer, Bureau of Field Operations 1986 ~ 1988
Special] Operations Division, Parks Enforcement Unit .

Engaged in proactive enforcement activity throughout the city and its parks, including the investigation of
misdemeanor and felony crimes, conducting parole and probation searches, obtaining and executing
search warrants, and working with informants. Also, responded to and handled regular patrol calls as
needed.

BAY AREA RAPID TRANSIT (BART) DIST. POLICE DEPARTMENT, San Francisco, CA 1981 - 1984

Police Officer
Assignments included both uniformed and plain clothes patrol.

SGUTH BAY REGIONAL PUBLIC SAFETY TRAINING CONSORTIUM, San Jose, CA 1997 - 2004

Adjunct Instructor — Multiple Courses and Programs

Taught liability issues and use-of-force investigations in the Supervisor School, Liability and Officer
Safety in the Field Training Officer Course, Liability Issues in FTO Updates, Force-options Simulator
Instructor, and Defensive Tactics Instructor in the Basic Academy.

 

TEACHING/PRESENTATIONS

2016 Human Factors for the Crime Scene Investigator (Including Eyewitness Dynamics).
Presented at the Santa Clara County Crime Laboratory.

2016 Eyewitness Dynamics. Presented at the Bay Area Gang Alliance monthly meeting.

2015 - Present Officer-involved Shootings Investigations — “Lawful Force,” “Human Factors,” “Analyzing
Video Evidence,” Eyewitness Dynamics,” and other topics. Curriculum designer and
instructor - 3 presentations to date on behalf of Cutting Edge Training, LLC.

2015 “Human Factors,” and “Eyewitness Dynamics.” Presented to the California Highway Patrol —
Critical Incident Response Team.

2014 "Understanding the Deadly Bluff: When Unarmed Subjects Commit Suicide by Cop."
Presented at the Suicide Identification, Prevention and Investigation for Law Enforcement &

Correctional Officers: Train-the-Trainer Program, sponsored by the Institute for the Prevention of
In-custody Deaths, Las Vegas, NV.

2012 -Present Officer-involved Shootings Investigations Course - "Lawful Ferce" and "Human Factors"
curriculum designer and instructor - 40 presentations. California P.O.S.T. Robert Presley
Institute of Criminal Investigation.

2006-2009 TASER X-26 Instructor and Instructor-Trainer. San Jose Police Department Basic Academy
and In-service Training Unit.

2006~—2009 California P.O.S.T. LD 20 (Use of Force) Scenario Evaluator. San Jose Police Basic Academy.

2007 SB719 Pursuit Policy Update. Curriculum designer and instructor, San Jose Police Department.

2005-2009 Force Options Simulator; Law Enforcement Driving Simulator; TASER X-26, TASER
Update; Officer Safety Update; First Aid; Defensive Tactics; Tactical Field Exercises.

Supervision and delivery in San Jose Police Department In-service Training Unit.

2004-2007 Liability. San Jose Police Department Communications Training Officer Seminar.
2002 —- 2004

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2000 — 2004
1999 — 2003
1997 — 2001
1997 — 2006
1997 — 2004

Force Options Simulator, South Bay Regional Public Safety Training Center.

Police Pursuit Driving. Featured expert regarding pursuit decision making in the training
videotape “produced by Performance Dimensions Publishing.

Pursuit Decision Making, course developer and instructor for interactive training CD-ROM for
The Backup, Inc.

Defensive Tacties, Basic Academy, South Bay Regional Public Safety Training Consortium.

Pursuit Decision Making, developed and delivered course curriculum, nine presentations in
seven states.

SWAT Weapons Retention, Performance Appraisals, and Field Tactics for Patrol, various
departments.

FTO Liability, San Jose Police Department Field Training Officer Seminar.

FTO Liability, Officer Safety, and Supervisor Liability (Including use-of-force investigation
and documentation), South Bay Regional Public Safety Training Consortium.

1997, 1998, 2000, and 2003 In-custody Death Update, Universal Weapon Retention, Evaluating Physical

1995 — 1998

Skills Training, and Multiple-Officer Takedowns, and Dealing with the Mentally Hl,
presented at the Defensive Tactics Newsletter Instructors Conferences.

 

Constitutional Limitations on the Use of Force, taught to selected patrol teams, San Jose Police
Department.

1992 Redefining the Basics of Patrol Tactics, taught to selected patrol teams, San Jose Police
Department.

1991-1992 Raid Planning and Entry, assistant instructor, San Jose Police Department, Narcotics/Covert
Investigations Unit.

1990-1992 Firearms, San Jose Police Department, Narcotics/Covert Investigations Unit.

1987 Side-handle baton (PR-24), developed and delivered curriculum for the San Jose Police
Department. This included the initial and in-service training to over 100 sworn department
members, as well as writing the Side-handle baton specifications and requirements for the
department.

1986 Modern Pistol Technique, delivered to the San Jose Police Department Youth Services Detail.

1983 Side-handle baton (PR-24) researched and developed program for the BART Police
Department. This included the initial and in-service training for all 130 sworn members.

COMMITTEE PARTICIPATION
* 2017 Calif. POST Use-of-Force Training Video Subject Matter Expert.
* 2008 — 2011/2014 California POST SAFE Driving Campaign — Subject Matter Expert Committee
* 2007 San Jose Police Department Lead SB 719 Pursuit Policy Revision

* 2006

Calif. POST. SB 719 (pursuit legislation) Subject Matter Expert Committee
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* 2006 San Jose Police Department Awards & Commendation Board

* 2004 San Jose Police Department TASER/Use of Force policy update Consultant

e 1999 Calif. POST Supervisors School Redesign Committee

e 1998 San Jose Police Department Duty Manual Update Consultant

° 1998 Calif. Commission on Peace Officers Standards & Training (POST) Field Training Officer
School Review Committee

¢ 1998 San Jose Police Department Crisis Intervention Team Implementation Task Force

* 1998 San Jose Police Department Carbine Program Deployment Committee

° 1997 San Jose Police Department Pursuit Policy Update Committee

e 1995 San Jose Police Department Bureau of Field Operations Training Committee

* 1992 San Jose Police Department Training Committee (Academy Subcommittee)

 

PUBLICATIONS
Peer Reviewed
Martin, J.A. (2016, September). Applied Human-Error Theory: A Police TASER-Confusion Shooting Case Study.
In Proceedings of the Human Factors and Ergonomics Society Annual Meeting (Vol. 60, No. 1, pp. 475-
479). SAGE Publications.

Martin, J.A. (2016). Science, Experience and the Law Support Changing Traditional Vehicle-Stop Tactics. Law
Enforcement Executive Forum, 16(1), 58-69.

Kaminsky, R.J., Martin, J.A. (2000). An Analysis of Police Officer Satisfaction with Defense and Control
Tactics. Policing: An International Journal of Police Strategies and Management, 23(2), 132-153.

Non-peer Reviewed

Martin, J. (2003, September/October). What’s Missing in Police Pursuit Decision Making? The Police Marksman,
28(5), 16-18.

Martin, J. (2003, March/April). Suicide by Cop: What the Responding Officer Needs to Know. The Police
Marksman, 28(2), 31-32.

Martin, J. (2002, July). Revising Policy and Procedure Manuals. Law and Order, 50 (7), 114-116.
Martin, J. (2002, May). Making Appraisal Writing Easy. The Police Chief.

Martin, J. (2002). Dealing with the Mentally Il: The Importance of the Subject Control Instructor. The Defensive
factics Newsletter, 12(1), 1, 3.

Martin, J. (2002). Clarifying the “Cover Fire” Issue. The Backup, 5(1).

Martin, J. (2001, September). 3QFC Pursuit Decision Making Model. Law and Order, 49(9), 16-17.
Martin, J. (2001, July). Pursuit Termination: A Lifesaver? Law and Order, 49(7), 30-33.

Martin, J. (2000, November). The Pitfalls of the FTO as Instant Backup. Law and Order, 48(7), 20, 22.
Martin, J. (2000, November). Force 101 — Part IV: Tennessee v. Garner. The Vanguard, 27(11).

Martin, J. (2000, October). Force 101 — Part III: Graham v. Connor. The Vanguard, 27(10), 17.
3

Martin, J. (2000, September). Force 101 — Part I: Rules of Force Conduct. The Vanguard, 27(9), 14.
Martin, J. (2000, August). Force 101 — Part I: The “Core Transaction.” The Vanguard, 27(8), 15-16.
Martin, J. (2000). Getting Over the Hurdle of Your First Article. The Defensive Tactics Newsletter, 10(1), 5-8.

Martin, J., Papenfuhs, S. (2000, January/February). The “Sneak Attack” vs. the “Tactical Distance’ Approach to
Handcuffing. The Police Marksman, 25(1).

Martin, J., Williams, G.T. (2000, January). Extracting Suspects from Commercial Aircraft Safely. Police, 24(1),
60-63.

Martin, J. (1999). Evaluating the Effectiveness of Subject Control and Defensive Tactics Training. The Defensive
Tactics Newsletter, 9(1), 1, 10-11.

Martin, J., Williams, G.T. (1998). 1998 California Peace Officers Murdered. The Journal of California Law
Enforcement, 32(4), 1-11.

Martin, J., Williams, G.T. (1998). 1997 California Officers Murdered Study. The Journal of California Law
Enforcement, 32(3), 18-28.

Martin, J. (1997, November). Arrest and Control Tactics: A Risk Management Perspective. Law and Order,
45(11), 74-76.

Martin, J. (1997). Reducing Suspect Resistance Through “Direct” Handeuffing. The Defensive Tactics Newsletter,
6(4), 1, 10-12.

Martin, J. (1997, September/October). Krav Maga: Serious Training for Serious Times. The Police Marksman,
22(5), 40-42.

Martin, J. (1997, July/August). The Myth of Control. The Police Marksman, 22(4), 54-55.

Martin, J. (1996, August). The Dangers of Dual Force. Law and Order, 44(8), 86-88.

Martin, J. (1996). The Wrap: A Definitive Solution Finally Arrives. The Defensive Tactics Newsletter, 6(2), 1, 4-7.
Martin, J. (1996, Spring). The Pat Search: Clarifying the Issues for Trainees. NAFTO News, 5(1), 18-20.

Martin, J. (1990, September/October). The Secondary Sidearm. The Police Marksman, 15(5), 43-44.

Martin, J. (1990, May/June). The Training Attitude. The Police Marksman, 15(3), 59-60.

 

AWARDS

1997 Defensive Tactics Newsletter Leadership Award, presented by Dr. Les Knight, publisher of the Defensive
Tactics Newsletter.

 

PROFESSIONAL MEMBERSHIPS

California State Bar Association

California Peace Officers’ Association

International Association of Chiefs of Police — Legal Officers’ Section
Human Factors and Ergonomics Society
 

SPECIALIZED TRAINING
Electronic Control] Weapons
TASER® Master Instructor - TASER® Training Academy — 2007, 2009, 2011 & 2014
TASER® X-26 Instructor — TASER, International — 2003
Advanced TASER® (M26) Instructor — TASER International ~ 2001
TASER Instructors Course, Tasertron, Inc. ~ 1996, 2000
Arrest/Subject Control and Defensive Tactics
FBI Defensive Tactics Instructor — Federal Bureau of Investigation ~ 2000
C.L.A.M_P. Instructors Course - Law Enforcement & Security Trainers, Inc. — 1999
G.R.A.S.P. Instructors Course — Law Enforcement & Security Trainers, Inc. — 1999
Arrest & Control Instructor — Los Angeles Police Department — 1998
Master Instructor Handcuffing — ISC Division of Wellness — 1998
Defensive Tactics Instructors Course - Krav Maga Assoc. of America, Law Enforcement Training Division — 1997
Control Points — ISC Division of Wellness — 1997
Police Close Defense Instructor — Williams Defense Systems (now Cutting Edge Training) — 1997
Edged Weapons
Tactical Folding Knife Instructor ~ CQC Service Group — 1997
Firearms
P.O.S.T. Certified Firearms Instructors Course —- Napa Valley College Criminal Justice Training Center — 1997
MPS Submachinegun Operators Course — Heckler & Koch, International Training Division — 1997
Tactical Shotgun — International Law Enforcement Training & Consulting — 1994
Urban Rifle - Thunder Ranch/International Training Consultants - 1993
Defensive Pistol-Level I] - Thunder Ranch/International Training Consultants — 1993
Police Shotgun- Level I — Yavapai Firearms Academy — 1988
Intermediate Pistol Course — American Pistol Institute (Gunsite) — 1987

Basic Pistol Course — American Pistol Institute (Gunsite) — 1986
Impact Weapons
ASP Tactical Baton Instructors Course — Armament Systems & Procedures — 1995, 1997
Side-handle Baton Instructors Update — Gavilan College ~- 1988
Side-handle Baton Instructors Update — Santa Rosa Criminal Justice Training Center — 1987
Side-handle Baton Instructors Workshop — Martinez Adult School — 1984
P.O.S.T. Certified Side-handle Baton Instructors Course —- Martinez Adult School ~ 1984

Chemical Agents
Aerosol Defense Spray (O.C.) Instructor ~ CQB Supply —.2005

Use of Force
P.O.S.T. Force-options Simulator Instructor — San Jose Police Department — 2002
Confrontational Simulation/Use of Force Instructor ~ Con Sim International — 1995
Arrest-related Deaths
Forensic Analyst: Excited Delirium, Sudden In-Custody Deaths Program — I.P.1.C.D. — 2009, 2014
In-custody Death Prevention Instructor — L.P.1.C.D. — 2005
Legal, Medical, and Scientific Constraints on Human Restraints Symposium — LP.LC.D. — 2014
Emergency Vehicle Operations
Law Enforcement Driving Simulator Instructor — San Jose Police Department ~ 2005
Pursuit Intervention Technique — Oakland Police Department — 2005
Driver Awareness Instructor — San Jose Police Department — 2005
Emergency Vehicle Operation Instructor — San Jose Police Department — 2005
Crisis Intervention

Suicide by Cop/Suicide Response — San Jose Police Department CIT update — 2002
Crisis Intervention Team Academy — San Jose Police Department — 2001
Crisis Management and Resolution — San Francisco Police Department — 1998

Human Factors
Fundamentals of Human Factors (SCY-580) - Grand Canyon University — 2016
Human Factors/Ergonomics (ISE 210) — San Jose State University — 2015

Investigating Human Fatigue Factors — National Transportation Safety Board — 2009
Human Factors (continued)
Principles of Force Science Certification Course — Force Science Research Center — 2008
Specialized Investigations
Internal Affairs Investigations ~ San Jose State University — 2009
Responding to Officer-Involved Shootings — Police Training Services Company — 2008
Officer-Invoived Shootings Investigations Course ~ LAPD, Force Investigations Division — 2008
Narcotic Investigation — California Department of Justice — 1990
Supervision/Leadership
P.O.S.T. Police Supervision — Gavilan College — 1995
Supervisors In-house Academy — San Jose Police Department — 1995
Sergeants Workshop in Community Oriented Policing — Justice Training Institute — 1994

Situational Leadership, Train the Trainer — Center for Leadership Studies — 1994

 

CONSULTANT AND EXPERT WITNESS

Civil Matters - Defense

November 2016 Soler v. County of San Diego, et al., United States District Court - Southern District of California.
Areas of Expertise: “Probable cause to arrest and continue to hold related to the totality of the
circumstances supporting a reasonable belief that an arrested subject is the named person on an
arrest warrant, including reliance on other official channels for information,” and “Diligence
in investigating an inmate’s claim that he is not the person named on an arrest warrant.”
(Report Submitted - Attorney: Stephanie Kish)

August 2016 Anthony Peel v. County of San Mateo, et al., United States District Court - Northern District of
California. Areas of Expertise: “Reasonable Force.” (Retained - Attorney: Jan Ellard)

July 2016 Joseph James Greer v. City of Hayward, et al., United States District Court - Northern District of
California. Areas of Expertise: “Probable cause to arrest,” “Reasonable use of force,”
Reasonable use of TASERs,” “Reasonable use of baton as a leverage tool,” “Reasonable use of
pressure point application,” “Reasonable use of restraints - including handcuffs and The
WRAP device,” “Proper monitoring of physical condition and timely rendering of first aid,”
“Provision of emergency medical treatment in a timely manner.” (Report Submitted - Attorney:
Jeffrey Vucinich)

June 2016 L.M. by and through her guardian ad litem v. City of Redding, et al., United States District Court -
Eastern District of California. Areas of Expertise: “Vehicle flight constituting a threat to the
public,” “Reasonable use of TASERs,” “Reasonable use of the carotid restraint,” Reasonable
use of personal weapons,” “Reasonable use of batons,” “Secondary head strikes with Batons,”
and “Theoretically dangerous positions increasing risk of arrest-related deaths. ” (Report
Submitted - " Attorney: Richard Fisher),
February 2016 Daniel Acedo v. City of Chula Vista, et al., United States District Court - Southern District of

January 2016

January 2016

August 2015

July 2015

March 2015

August 2014

California. Areas of Expertise: “Probable Cause to Arrest,” “Warrantless Entry onto Property
Based Upon Fresh Pursuit,” “Pointing of Firearms While Making Arrest,” “Use of Police Dog
While Making Arrest,” and “Conformance with Departmental Policy.” (Report Submitted —
Attorney: Karen Rogan)

Jovan Jimenez v. County of San Diego, et al., United States District Court — Southern District of
California. Areas of Expertise: “Reasonable Suspicion to Detain,” “Probable Cause to
Arrest,” “Arrest based on Citizens Arrest,” “Use of Handcuffs During Detentions,”
“Reasonable Force to Control Handcuffed Suspects,” and “Factors Supporting that Head
Strike with an Impact Weapon was Accidental.” (Report Submitted — Attorney: James Chapin)

Gary Lawman v. City and County of San Francisco, et al., United States District Court — Central
District of California. Areas of Expertise: “Probable Cause to Arrest,” “Booking of
Misdemeanant Arrestees,” “Explicit Probable Cause to Detain Pursuant to Section 5150 W&I,”
“Policy Conformance,” and “Monell Liability.” (Report Submitted, Deposed and Testified —
Attorney: James Hannawalt) .

Michael Nichols et al v. City of Palm Springs, et al., United States District Court - Central District
of California. Areas of Expertise: “Proper Use of Informants,” “Determining the Status of
Informants,” and “Creation of Duty to Protect Informants.” (Submitted Report - Attorney:
Michael Tam)

Civil: Robert Barron v. City of Redding et al., United States District Court - Eastern District of
California. Areas of Expertise: "Reasonable Suspicion to Detain,"

"Probable Cause to Arrest," "Reasonable Use of Deadly Force," “Patrol Tactics" and
"Policy Compliance." (Submitted report & deposed - Attorney: Sean O’Dowd)

Civil: Estate of Yanira Serrano v. County of San Mateo, et al., United States District Court -
Northern District of California. Areas of Expertise: “Reasonable Use of Deadly Force,” “Force
Options,” “Patrol Tactics,” “Policy Compliance,” “Pointing of Firearm,” “Monell Liability.”
(Submitted report & deposed - Attorney: David Levy)

Civil: Jose Antonio Aguilar Jaramillo v. City of San Mateo, et al., United States District Court -
Northern District of California. Areas of Expertise: "Reasonable Suspicion to Detain,"
"Probable Cause to Arrest," "Reasonable Force," "Post-arrest care," and "Policy
Compliance." (Submitted report — Attorney: Jeffrey Vucinich)

December 2013 Civil: United States Automobile Assoc. v. Las Vegas Metropolitan Police Department

June 2013

February 2013

Consolidated with Dennis Wallace v. Las Vegas Metropolitan Police Department, et al. Nevada
District Court, Clark County, Nevada. Areas of Expertise: "Vehicular Pursuits," "Policy
Compliance," "Threat Assessment of Suspect Driving," "Emergency Vehicle Operations.”
(Consulted ~ Attorney: Adam Fulton)

Civil: Nicholas Damante v. City of Hayward, et al. Alameda County Superior Court. Areas of
Expertise: “Reasonable Suspicion to Detain,” “Probable Cause to Arrest,” “Differentiation of
Knives Under 653k PC,” “Reasonable Force.” (Consulted — Attorney: Jeffrey Vucinich)

Civil: A.K.H., a minor by and through her Guardian Ad Litem, Elizabeth Landeros; Maria Cerda
Reyes; and Benito Herrera v. City of Tustin et al. United States District Court - Central District of
California. Areas of Expertise: “Reasonable Suspicion to Detain,” “Probable Cause to Arrest,”
“Reasonable Use of Deadly Force,” “Human Perception and Reaction Time,” “Suicide by
Cop,” “Timely Rendering of First Aid,” and “Policy Compliance. ” (Submitted report & deposed
- Attorney: Robert Kaufman)

10
December 2011 Civil: Carrillo/Correa v. Las Vegas Metropolitan Police Department, et al. United States
District Court - District of Nevada. Areas of Expertise: "Vehicular Pursuits," "Policy
Compliance," "Threat Assessment of Suspect Driving," "Emergency Vehicle Operations" and
"Perception and Memory." (Submitted report and deposed - Attorney: Sean Lyttle)

October 2011 Civil: Mary & Charles Piskura v. TASER, International, et.al. United States District Court —
Southern District of Ohio. Areas of Expertise: “Eyewitness Perception and Memory of Events”
and “The Biomechanics of Officer-Suspect Interactions.” (Submitted report ~ Attorney: Andrew
Yosowitz)

November 2010 Civil: Kenneth Carrethers v. Bay Area Rapid Transit, et al. San Francisco, CA. United
States District Court - Northern District of California. Areas of Expertise: “Reasonable
Suspicion to Detain, Probable Cause to Arrest, and Reasonable Force” and “Reasonable Use of
Leg Restraint for Defense of a §1983 Action Alleging Unlawful Arrest and Excessive Force.”
(Submitted report and deposed ~ Attorney: Dale Allen)

December 2008 Civil: John Garcia v. County of Merced, et al., CA. U.S. District Court - Eastern
District of California. Area of Expertise: “Officers’ Training Regarding Proper Search
Warrant Affidavit Procedures in a Narcotic Investigation.” (Submitted report — Attorney: Roger
Matzkind - Defense)

February 2008 Civil: Randy Sewell v. Dustin James Hutchcraft, et. al. Lane County, OR. Second Judicial
District of Oregon. Area of Expertise: “Off-duty Police Practices in Assault and Battery by
Police Plaintiff.” (Consulted — Attorney: Kevin Crawford)

April 2004 Civil: Steven May v. Maaco Auto Body, Modesto, CA. Superior Court of California,
Stanislaus County. Area of Expertise: “Proper Police Procedures and Policies Related to
Emergency Vehicle Operation and Pursuits.” (Consultation — Attorney: Dale Thayer - Defense)

May 2003 Civil: Peruzzaro v. San Mateo County Transit District, Redwood City, CA. Superior Court
of California, San Mateo County. Area of Expertise: “Current Training and Proper Procedure
Related to Emergency Vehicle Operation, “Code-3” Driving and Safety Measures.” (Deposed —
Attorney: Albert Wenzell, Jr. - Defense)

June 1999 Civil: Steve Hatzigeorgiou vs. Camelot Park, et al. Modesto, CA. Superior Court of
California, Stanislaus County. Area of Expertise: “Appropriate Off-Duty Conduct by Peace
Officers.” (Consultation — Attorney: Michael Amaro - Defense)

Civil — Plaintiff

March 2015 Angel Keith Toscano, Jr., et al. v. City of Fresno, et al., United States District Court - Eastern
District of California. Areas of Expertise: “Probable Cause to Arrest,” “Reasonable Force —
Patrol Vehicle v. Bicyclist,” “Driving with Due Regard During Pursuit of Bicyclist,” “Effect of
Use of Emergency Lights and Siren,” “increasing the Danger to Struck Fleeing Suspect,” and
“Emergency Vehicle Operations Training.” (Submitted Report — Attorneys: Andrew Jones &
Adam Rushing)

October 2013 Steve Armstrong v. El Rancho Market of Chandler, Inc., Superior Court of Arizona — Maricopa
County. Areas of Expertise: “Proper Procedure for Detaining Suspected Shoplifters by Retail
Loss-prevention Personnel,” “Inadequate Training of Loss-prevention Personnel,” and
Improper Use of Handcuffs.” (Consulted — Attorney: Robert Trop)

October 2012 Austin Koval v. United States of America. United States District Court — Eastern District of
California. Areas of Expertise: “Reasonable Suspicion to Detain,” “Probable Cause to Arrest,”

11.
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“Reasonable Officer’s Application of Criminal Statute,” “Unreasonable Seizure of Personal
Property Without Cause,” and “Duty to Intercede.” (Submitted report & depesed — Attorney:
Robert Trop)

March 2009 = Civil: Steven Morrow v. Park-Gaylord Apartments, Paul Pries, et al. San Jose, CA. Superior
Court of California, Santa Clara County. Area of Expertise: “Proper Police Practices in Foot
Pursuits.” (Submitted report — Attorney: Peter Timewell)

Criminal — Prosecution

June 2016 People of the State of California v. Gabrielle Lemos and Michelle Lemos, Superior Court, County
of Sonoma. Areas of Expertise: “Reasonableness of having occupants of stopped vehicles exit”
and “Proper procedures for preliminary investigations of potential domestic violence incidents.”
(Testified - Attorney: Jenica Leonard)

September 2014 People of the State of California v. Brian Rathjen, Superior Court of California, Santa
Clara County. Areas of Expertise: "Reasonable Force" and "Dealing with Mentally Ill
individuals." (Consulted — Attorney: Angela Bernhard - Prosecution for Murder and Resisting
Arrest with Injury to Peace Officer)

September 2014 People of the State of California v. Christopher Melton, Superior Court of California,
Stanislaus County. Areas of Expertise: "Reasonable Force" and "Arrest & Control Tactics,"
(Testified — Attorney: Blythe Harris - Prosecution for Assault Under Color of Authority)

August 2009 People v. Romel Custodio, Marlo Custodio, and Marilou Aivarado, San Jose, CA.
Superior Court of California, Santa Clara County. Areas of Expertise: “Operation and Use of the
TASER® Brand Electronic Control Device” and “The Use of Force in the Prosecution for
Resisting Arrest/Obstructing and Delaying a Peace Officer.” (Testified — Attorney: Donald
Shearer) STATUS: Uncompensated expert witness as part of normal police duties.

December 2006 People v. Phouc Ngoc Pham, San Jose, CA. Superior.Court of California, Santa
Clara County. Area of Expertise: “Brandishing a Firearm by Off-Duty Police Defendant.”
(Submitted report —- Attorney: Raymond Mendoza) STATUS: Uncompensated expert witness as
part of normal police duties.

August 2006 People v. Joe Reyes Guerra, San Jose, CA. Superior Court of California, Santa
Clara County. Areas of Expertise: “Police Use of Force,” “Force Options and Operation” and
“Proper Application of the TASER® Brand Electronic Control Device.” (Testified ~ Attorney:
James Leonard) STATUS: Uncompensated expert witness as part of normal police duties.

February 2005 People vs. Michael Kan and Craig Daniel Lee, San Jose, CA. Superior Court of
California, Santa Clara County. Areas of Expertise: “Assault Under Color of Authority,”
“Officers’ Training as to Facts Amounting to Reasonable Suspicion to Detain & Probable
Cause to Arrest” and “Policy and Practices Regarding Use of Force.” (Submitted report &
testified — Attorney: Peter Waite) STATUS: Uncompensated expert witness as part of normal
police duties.

November 2005 Peaple vs. Jose Murillo, Santa Clara, CA. Area of Expertise: “Effect of a Stun
Baton.” (Submitted report — Attorney: Benjamin Field - Prosecution) STATUS: Uncompensated
expert witness as part of normal police duties.

May 2005 People vs. Marvin Evenorlazo Amaya, Santa Clara, CA. Areas of Expertise:
“Officers” Training as to Facts Amounting to Reasonable Suspicion to Detain” and “Policy
and Practices Regarding Use of Force.” (Testified — Attorney: Angela Bernard)
STATUS: Uncompensated expert witness as part of normal police duties.

12
December 2002 People vs. Lugo Santillan Silva, Santa Clara, CA. Area of Expertise: “Use of

Force/Police Service Dogs as an Instrumentality of Force.” (Testified — Attorney: Judith Sklar -
Prosecution) STATUS: Uncompensated expert witness as part of normal police duties.

September 2001 People vs. Craig Winton Mosher, Monterey, CA. Superior Court of California,

Monterey County. Area of Expertise - “Assault Under Color.” (Consulted ~ Attorney: Gary
Thelander - Prosecution) STATUS: Uncompensated expert witness

Criminal ~ Defense

April 2016

January 2016

October 2014

July 2011

April 2010

People v. Patrick Feaster, Superior Court - County of Butte. Areas of Expertise: “Distraction
Effects of Stress and its Interaction with Automatic Behavior,” “Memory Gaps in Officer-
involved Shootings,” and “Reasonableness of Drawing of a Sidearm by a Police Officer.”
(Report Submitted - Attorney: Paul Goyette)

People v. John Demery, Superior Court - County of Riverside. Areas of Expertise: “Factors that
Constitute Proportionate Force,” “Human Factors,” “Perception of Threat of Death or Serious
Bodily Injury by Unarmed Assailant,” and “Punches Resulting in Death or Serious Bodily
Injury.” (Testified - Attorney: Richard Pinckard) ,

People v. Jeffrey Smock, Superior Court - County of Marin. Areas of Expertise: “Factors of
Reasonable Force in Self Defense by a Civilian.” (Excluded — Attorney: M. Gerald
Schwartzbach)

State of Nevada v. Aron Carpenter, Las Vegas, NV. Eighth Judicial District of

Nevada. Areas of Expertise: “Pursuit Policy,” “Determining Policy Compliance”, “Pursuit
Dynamics,” “Distinguishing Policy from Law,” and “Human Perception and Reaction Time.”
(Testified — Attorney: Bret Whipple)

People v. Julio Morales, San Jose, CA. Superior Court of California, Santa Clara

County. Areas of Expertise: “Consensual Encounters, Reasonable Suspicion to Detain,”
“Probable Cause for Pat Searches,” “San Jose Police Department Regulations, San Jose Police
Department Performance Appraisal Practices, and Under the Influence (11550 H&S)
Investigative Procedures for the Defense of a San Jose Police Officer Charged with Sexual
Battery and False Imprisonment.” (Testified — Attorney: Craig M. Brown)

Administrative — Grievant

March 2015

June 2013

March 2012

August 2011

In the Matter of the Appeal of Rodolfo Gomez, Jr., Board of Fire and Police Commissioners of the
City of Milwaukee. Area of Expertise: “”Importance of Proper Analysis of Video Evidence in
Use-of-Force Investigations.” (Testified — Attorney: Brendan Matthews)

Civil Service Hearing: Juan Vara & Kevin Wheeler v. New Orleans Police Department, New
Orleans, LA. Areas of Expertise: "Use of Force,” "TASER" and "Human Factors" (Basic
vision, light & dark adaptation, lighting and attention). (Submitted report & Testified -
Attorneys: Donovan Livacarri & Raymond Burkett, TI)

Arbitration Hearing: Alfonzo Basurto v. Santa Clara County Sheriff's Department, San Jose, CA.
Areas of Expertise: “Use-of-Force Policy Compliance,” “Force Options” and “Arrest and

Control Tactics." (Testified — Attorney: William Rapoport - Grievant)

Arbitration Hearing: Aron Carpenter v. Las Vegas Metropolitan Police Department, Las Vegas,
NV. Areas of Expertise: “Pursuit Policy and Compliance,” “Recognition of Suicidal Behavior,”

13
March 2011

March 2003

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“Vehicle Dynamics,” “Basic Collision Report Writing,” and “Perception, Memory and Reaction
Time,” (Testified — Attorney: John Harper - Grievant)

Arbitration Hearing: City of Grover Beach v. Lopez, Grover Beach. Areas of Expertise: “Human
Perception and Memory,” “Operation and Capabilities of the TASER® X26 and

TASER Cam®,” and “Reasonable Use of the TASER®” and “Reasonable Force Per
Department Policy.” (Testified — Attorney: Alison Berry Wilkinson)

Arbitration Hearing: Daysog vs. City of San Jose, San Jose, CA. Areas of Expertise: “Use of
Force/Police Service Dogs as an Instrumentality of Force.” (Testified — Attorney: Craig M.
Brown - Grievant) STATUS: Uncompensated expert witness subpoenaed by officer.

Consultation/Review

July 2015

March 2015

January 2015

March 2000

July 1998

Consultation & Review: Force-Response Analysis of Officer-Involved Shooting: Fridoon
Rawshan Nehad. Areas of Expertise: “Reasonable Suspicion to Detain,” “Probable Cause to
Arrest,” “Human Perception v. Video Evidence,” “Force Options,” “Reasonable Use of Deadly
Force.” (Submitted report - San Diego County District Attorney’s Office — Attorney: Fiona
Khalil)

Consultation: Confidential Client (Chief of Police) — Review of reports and examination and
interpretation of in-car camera video of arrest to determine reasonableness of force during arrest.

Consultation & Training: Confidential Client (Police Internal Affairs Unit) - Examination and
interpretation of two body-worn camera videos of two separate incidents, one involving physical
non-lethal force (physical force, TASERs, and OC spray) and the other of an officer-involved
shooting. Provided training to IA investigators about how to examine and interpret video of force
incidents.

Interviewed for review of claim regarding a training injury in a defensive tactics course at a basic
academy for Keenan & Associates (TPA).

Reviewed evidence and documentation for the U.S. Department of Justice Civil Rights Division
and rendered an opinion as to reasonableness of force for patterns and practices. Case name is
confidential.

Professional/Peer Review

August 2008

Peer Review Panel member for the Commercial Equipment Direct Assistance Program (CEDAP),
Department of Homeland Security.

November 2006 Peer Review Panel member for the Commercial Equipment Direct Assistance Program

(CEDAP), Department of Homeland Security. STATUS: Compensated consultant. —

February 2006 Peer Review Panel member for the Commercial Equipment Direct Assistance Program (CEDAP)

August 2001
March 1999

August 1998

Department of Homeland Security.
Professional Review of Research Report, National Institute of Justice.
Professional Review of Research Report, National Institute of Justice

Peer Review Panel member for grant proposals, National Institute of Justice

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ADJUDICATION

March 2014 — Confidential File No. 033.14284.15294. Neutral board member agreed to by the California
Highway Patrol and Appellant in good cause hearing for revocation of a retired peace officer’s
concealed weapon endorsement pursuant to California Penal Code Sections 25740 and 26305(b) et
seq.

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EXHIBIT D
 

Re the matter of:

 

CASE REVIEW AND OPINION:

A Complete review of all materials furnished will be done ona timely basis, and written opinion will be completed if
requested. A review of materials provided will be performed at the rate of $200.00 per hour with a minimum of 24
hours ($4,800.00) required in advance of commencement of review. This $4,800.00 fee is nonrefundable and must
accompany this signed Fee Agreement acknowledging Jeffrey A. Martin’s participation in the case as an expert.
Payment to Jeffrey A. Martin is not dependent upon the client-attorney’s decision to continue to use the services of
Jeffrey A. Martin in this matter. Designating Jeffrey A. Martin as an expert in any case matter without his consent,
signing the fee agreement and paying the minimum $4,800.00 fee is prohibited. If the fee arrives before case materials
are sent or received, the receipt of the fee is.considered an agreement to retain. Jeffrey A. Martin reserves the right to
withdraw from assisting in the matter if the client-attorney misrepresents or withholds any information about the case or
any relationships constituting potential conflicts. The $4,800.00 minimum billing will be credited toward subsequent
invoices.

TESTIMONY:

Actual testimony in a proceeding (.e., trial, deposition, or hearing) will be billed at $400.00 per hour with a four-hour
minimum of $1,600.00. Waiting to testify at the venue of the proceeding before actually testifying will be billed at
$200.00 hour. Ifthe case settles, is dismissed, or otherwise rescheduled after arrival at the venue of the proceeding, a
four-hour minimum of $1,600.00 will be billed. The four-hour minimum of $1,600.00 will be billed if the case settles, is
dismissed, or otherwise rescheduled within 24 hours (excluding Saturdays and Sundays) of scheduled testimony.

READING, CONSULTATION, PREPARATION, RESEARCH & REPORTS*: $200.00 per hour.
CASE/DOCUMENT ORGANIZATION: $75.00 per hour.

SITE VISIT: $1,600.00 if travel time is more than four hours, portal-to-portal. $200.00 per hour otherwise.
TRAVEL (Does not include travel expenses): $95 per hour.
FILING/BILLING/OFFICE SUPPLY FEE (One time fee per case): $175.00

Airfare will be booked at an unrestricted coach fare.

Mileage will be charged at the current IRS rate,

After 45 days a 10 percent late fee will be charged.

Expenses will be billed as incurred.

Invoices. may be issued every 30 days when-the case is active.

The hiring firm/organization is responsible for ensuring that all fees are paid in full and in a timely manner.
All hourly rates will be billed per tenth hour.

*An Expedited-Report fee of $1,000.00 is billed if a report is needed in less than 10 business days.

| HAVE READ THIS FEE SCHEDULE IN ITS ENTIRETY AND AGREE TO THE TERMS THEREIN.

 

 

Jeffrey A. Martin Signature of retaining attorney Date

 

Typed or printed name of retaining attorney

727 Industrial Road, Suite 102 ° San Carlos,CA94070 + 650.595.2452 « dsiconsuit.com
